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                                           UNITED STATES DISTRICT COURT
                                                           Southern District of Indiana
                                                                 Laura A. Briggs, Clerk of Court

 Birch Bayh Federal Building   U.S. Courthouse, Room 104      Winfield K. Denton Federal Building   Lee H. Hamilton Federal Building
 & U.S. Courthouse, Room 105   921 Ohio Street                & U. S. Courthouse, Room 304          & U.S. Courthouse, Room 210
 46 East Ohio Street           Terre Haute, IN 47807          101 NW Martin Luther King Blvd.       121 West Spring Street
 Indianapolis, IN 46204        (812) 231-1840                 Evansville, IN 47708                  New Albany, IN 47150
 (317) 229-3700                                               (812) 434-6410                        (812) 542-4510


                                                                    September 3, 2019

  Kathryn A Johnson                                                            Jay Stevenson Weimer
  DORSEY & WHITNEY LLP                                                         U.S. Attorney's Office
  50 South Sixth Street, Suite 1500                                            801 Cherry Street
  Minneapolis, MN 55402                                                        Unit 4
                                                                               Ft. Worth, TX 76102-6882



RE: BRUCE CARNEIL WEBSTER v. CHARLES LOCKETT

CAUSE NO: 2:12-cv-00086-JPH-MJD

Dear Appellant and Appellee:

Please be advised that the Notice of Appeal filed in 2:12-cv-00086-JPH-MJD has been forwarded to the United
States Court of Appeals for the Seventh Circuit. The Clerk of the Seventh Circuit will assign an appellate case
number, docket the appeal, and notify case participants of the Seventh Circuit case number assigned to this
matter.


Please review Seventh Circuit Rule 10 (enclosed) for guidance regarding record preparation.

Please contact the Clerk’s office with any questions or concerns.

                                                           Sincerely,
                                                           Laura A. Briggs,
                                                           Clerk of Court

                                                           By Laura Townsend, Deputy Clerk
                                                           812-542-4511
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Selected Rules for Reference
CIRCUIT RULE 10. Preparation and Accessibility of Record in District Court Appeals

(a) Record Preparation Duties.

  (1) Within 14 days of filing the notice of appeal the district court must ensure the district court docket is complete
  and made available electronically to the court of appeals.

  (2) The clerk of the district court must prepare and hold any confidential record or exhibit not available
  electronically on the district court docket until requested by the court of appeals.

  (3) Counsel must ensure, within 21 days of filing the notice of appeal, that all electronic and non electronic
  documents necessary for review on appeal are on the district court docket.

  (b) Correction or Modification of Record. A motion to correct or modify the record pursuant to Rule 10(e), Fed. R. App. P.,
or a motion to strike matter from the record on the ground that it is not properly a part thereof must be presented first to
the district court. That court's order ruling on the motion must be included as part of the record and a notice of the order
must be sent to the court of appeals.

  (c) Order or Certification with Regard to Transcript. Counsel and court reporters are to utilize the form prescribed by this
court when ordering transcripts or certifying that none will be ordered. For specific requirements, see Rules 10(b) and
11(b), Fed. R. App. P.

  (d) Ordering Transcripts in Criminal Cases.

  (1) Transcripts in Criminal Justice Act Cases. At the time of the return of a verdict of guilty or, in the case of a bench trial,
an adjudication of guilt in a criminal case in which the defendant is represented by counsel appointed under the Criminal
Justice Act (C.J.A.), counsel for the defendant must request a transcript of testimony and other relevant proceedings by
completing a C.J.A. Form No. 24 and giving it to the district judge. If the district judge believes an appeal is probable, the
judge must order transcribed so much of the proceedings as the judge believes necessary for an appeal. The transcript
must be filed with the clerk of the district court within 40 days after the return of a verdict of guilty or, in the case of a
bench trial, the adjudication of guilt or within seven days after sentencing, whichever occurs later. If the district judge
decides not to order the transcript at that time, the judge must retain the C.J.A. Form No. 24 without ruling. If a notice of
appeal is filed later, appointed counsel or counsel for a defendant allowed after trial to proceed on appeal in forma
pauperis must immediately notify the district judge of the filing of a notice of appeal and file or renew the request made
on C.J.A. Form No. 24 for a free transcript.

  (2) Transcripts in Other Criminal Cases. Within 14 days after filing the notice of appeal in other criminal cases, the
appellant or appellant's counsel must deposit with the court reporter the estimated cost of the transcript ordered pursuant
to Rule 10(b), Fed. R. App. P., unless the district court orders that the transcript be paid for by the United States. A non-
indigent appellant must pay a pro rata share of the cost of a transcript prepared at the request of an indigent co-defendant
under the Criminal Justice Act unless the district court determines that fairness requires a different division of the cost.
Failure to comply with this paragraph will be cause for dismissal of the appeal.

  (e) Indexing of Transcript. The transcript of proceedings to be part of the record on appeal (and any copies prepared for
the use of the court or counsel in the case on appeal) must be bound by the reporter, with the pages consecutively
numbered throughout. The transcript of proceedings must contain a suitable index, as well as the following information:

  (1) An alphabetical list of witnesses, giving the pages on which the direct and each other examination of each witness
begins.

  (2) A list of exhibits by number, with a brief description of each exhibit indicating the nature of its contents, and with a
reference to the pages of the transcript where each exhibit has been identified, offered, and received or rejected.
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 (3) A list of other significant portions of the trial such as opening statements, arguments to the jury, and instructions,
with a reference to the page where each begins.

When the record includes transcripts of more than one trial or other distinct proceeding, and it would be cumbersome to
apply this paragraph to all the transcripts taken together as one, the rule may be applied separately to each transcript of
one trial or other distinct proceeding.

  (f) Presentence Reports. The presentence report is part of the record on appeal in every criminal case. The district court
must maintain this report under seal, unless it has already been placed in the public record in the district court. If the
report is under seal, the report may not be included in the appendix to the brief or the separate appendix under Fed. R.
App. P. 30 and Circuit Rule 30. Counsel of record may review the presentence report but may not review the probation
officer's written comments and any other portion submitted in camera to the trial judge.

  (g) Effect of Omissions from the Record on Appeal. When a party's argument is countered by a contention of waiver for
failure to raise the point in the trial court or before an agency, the party opposing the waiver contention must give the
record cite where the point was asserted and also ensure that the record before the court of appeals contains the relevant
document or transcript.



        NOTE: The complete Federal Rules of Appellate Procedure & Rules of the 7th Circuit Court of Appeals
        are available at: http://www.ca7.uscourts.gov/Rules/Rules/rules.pdf
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  TERRE HAUTE DIVISION


  BRUCE CARNEIL WEBSTER,                    )
                                            )
                Petitioner,                 )
                                            )
          v.                                )      CAUSE NO. 2:12-CV-086-JPH-MJD
                                            )
  JEFFREY KRUEGAR, Warden,                  )
                                            )
                Respondent.                 )

                                    NOTICE OF APPEAL

          Notice is given that the United States of America, on behalf of Respondent Jeffrey

  Kruegar, appeals to the United States Court of Appeals for the Seventh Circuit. Appeal

  is taken pursuant to 28 U.S.C. § 1291 and 28 U.S.C. § 2253(a) and Federal Rules of

  Appellate Procedure 3 and 4(a) from the final judgment entered in this case on June 18,

  2019.



                                                   Respectfully submitted,

                                                   JOSH J. MINKLER
                                                   UNITED STATES ATTORNEY

                                            By:    s/ Jay Stevenson Weimer
                                                   Jay Stevenson Weimer
                                                   Special Assistant United States Attorney
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                                   CERTIFICATE OF SERVICE

         This is to certify that on August 30, 2019, a copy of the foregoing Notice of Appeal was

  filed electronically. Notice of this filing will be sent to the following parties by operation of the

  Court’s CM/ECF system: Kirsten E. Schubert, Monica Foster and Steven J. Wells. I hereby

  certify that I have mailed by United States Postal Service the document to the following non

  CM/ECF participants: Bruce Carneil Webster, Register No. 26177-077, USP Terre Haute, U.S.

  Penitentiary, P.O. Box 33, Terre Haute, IN 47808.



                                                        s/ Jay Stevenson Weimer
                                                        Jay Stevenson Weimer
                                                        Special Assistant United States Attorney
                                                        Office of the United States Attorney
                                                        10 West Market Street
                                                        Indianapolis, IN 46204-3048
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   TERRE HAUTE DIVISION


  BRUCE CARNEIL WEBSTER,                     )
                                             )
                 Petitioner,                 )
                                             )
          v.                                 )       CAUSE NO. 2:12-CV-086-JPH-MJD
                                             )
  JEFFREY KRUEGAR, Warden,                   )
                                             )
                 Respondent.                 )

                    CIRCUIT RULE 3(C) DOCKETING STATEMENT

       Respondent Jeffrey Kruegar provides the following statement pursuant to Circuit Rule

  3(c):

  A.      The District Court’s Subject-Matter Jurisdiction and the
          Petitioner’s Custody Status

          1.     After kidnapping, raping, beating, and burying alive a 16-year-old girl, the

  petitioner, Bruce Webster, was convicted in the Northern District of Texas, Case No.

  4:94-CR-121-Y-1, of kidnapping resulting in death in violation of 18 U.S.C. § 1201(a)(1)

  (count one), conspiracy to commit kidnapping in violation of 18 U.S.C. § 1201(c) (count

  two), and using and carrying a firearm during a crime of violence in violation of 18

  U.S.C. § 924(c) (count six). See United States v. Webster, 162 F.3d 308, 319-20 (5th

  Cir. 1998). The verdict as to count one subjected Webster to a maximum sentence of

  death. 18 U.S.C. § 1201(a)(1). During a separate sentencing hearing before the same




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  jury, Webster’s defense team argued that Webster was mentally retarded 1 and thus could

  not be sentenced to death pursuant to 18 U.S.C. § 3596(c). The trial court found that

  Webster was not mentally retarded and sentenced him to death on the first count of

  conviction, life imprisonment on the second, and 60 months’ imprisonment on the third.

  See id. at 320. The trial court entered judgment on October 1, 1996. The Fifth Circuit

  affirmed the sentence, holding that “[t]he government presented substantial evidence to

  support the finding [that Webster was not mentally retarded].” Id. at 353. The Supreme

  Court denied Webster’s petition for certiorari. See Webster v. United States, 528 U.S.

  829 (1999).

           2.        On September 29, 2000, Webster filed in the Northern District of Texas a

  motion to vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255. See

  Webster v. United States, No. 4:00-CV-1646, 2003 WL 23109787 (N.D. Tex. Sept. 30,

  2003). Again, Webster argued that his death sentence was improper because he was

  mentally retarded. Webster also argued that his counsel was ineffective in failing “to

  investigate and present additional evidence demonstrating mental retardation and the

  extreme abuse Webster suffered as a child.” United States v. Webster, 392 F.3d 787,

  793 (5th Cir. 2004). After an extensive and detailed review of the evidence presented at

  trial regarding Webster’s intellectual functioning, the trial court denied the motion but

  granted a certificate of appealability as to two of Webster’s claims: “first, that the


  1 In earlier stages of this litigation, attorneys and courts referred to intellectual disability as “mental retardation.”
  The two terms are synonymous, and can be used interchangeably, though the latter has acquired a pejorative
  connotation and is no longer commonly used. This statement will use both terms as necessary to preserve the
  references made by the parties at the time.
                                                               2
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  evidence presented at trial was insufficient to warrant the district court’s finding that

  Webster is not mentally retarded; and second, that his alleged retardation renders him

  ineligible for a death sentence.” United States v. Webster, 421 F.3d 308, 310 (5th Cir.

  2005). The Fifth Circuit rejected Webster’s arguments, noting that Webster failed to

  convince “either the district court that he is retarded or, moreover, a majority of the jurors

  that he is or even may be retarded.” Id. at 313-14. The Supreme Court again denied

  Webster’s petition for a writ of certiorari. See Webster v. United States, 549 U.S. 828

  (2009).

            3.   On October 22, 2009, Webster moved for authorization to file a second or

  successive Section 2255 motion on the ground that allegedly newly discovered evidence

  “in the form of government and school records and additional testimony” established that

  he was mentally retarded, and thus, ineligible for the death penalty. See In re Webster,

  605 F.3d 256 (5th Cir. 2010). The Fifth Circuit explained that a petitioner cannot bring a

  successive claim under Section 2255(h)(1) if he does not assert that the newly discovered

  evidence would negate his guilt. See id. at 258-59. Because Webster’s newly

  discovered evidence challenged only his sentence and not the finding of guilt, the court

  denied Webster’s request to file a subsequent Section 2255 motion. See id. The

  Supreme Court denied certiorari for a third time. See Webster v. United States, 131 S.

  Ct. 794 (2010).

         4. On April 6, 2012, Webster filed a savings-clause petition for writ of habeas

  corpus in the Southern District of Indiana under 28 U.S.C. § 2241 and 28 U.S.C.


                                                3
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  § 2255(e). The district court’s subject-matter jurisdiction to resolve Webster’s savings-

  clause petition came from 28 U.S.C. § 1331 because the petition presented a federal

  question. See Prevatte v. Merlak, 865 F.3d 894, 900-01 (7th Cir. 2017). At the time he

  filed the petition, Webster was imprisoned at Terre Haute U.S. Penitentiary in the

  Southern District of Indiana. Webster sought relief based on the same evidence that

  formed the basis of his second 28 U.S.C. § 2255 request. On November 13, 2013, the

  district court denied Webster’s Section 2241 petition based on reasoning similar to that

  the Fifth Circuit had used to deny his second Section 2255 claim. See Webster v.

  Lockett, No. 2:12-CV-86, 2013 WL 6007593 (S.D. Ind. Nov. 13, 2013).

            5. Webster appealed, and the panel affirmed on August 1, 2014. See Webster

  v. Caraway, 761 F.3d 764 (7th Cir. 2014). The Seventh Circuit voted to rehear the case

  en banc, however, and on May 1, 2015, the en banc court held that there is no absolute

  bar to the use of the safety valve found in Section 2255(e) for new evidence that would

  demonstrate categorical ineligibility for the death penalty. See Webster v. Daniels, 784

  F.3d 1123, 1139-40 (7th Cir. 2015) (en banc). The Court also held that “[f]urther

  proceedings are necessary, however, before the district court can reach the merits of his

  habeas corpus petition. The district court must hold a hearing for the purpose of deciding

  whether the Social Security records were indeed unavailable to Webster and his counsel

  at the time of the trial.” Id. at 1145. The Court explained that, if the district court found

  that the Social Security records were unavailable, it would turn to the merits of the

  petition, specifically, “is Webster so intellectually disabled that he is categorically


                                                 4
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   ineligible for the death penalty under Atkins and Hall?” Id. at 1146.

          6.     On August 31, 2018, the district court found that the Social Security

   records identified by Webster were unavailable to him at the time of trial and that

   “Webster has satisfied the savings clause, and the Court next must turn to the merits of

   the petition and determine whether Webster is so intellectually disabled that he is

   categorically ineligible for the death penalty.” Webster v. Lockett, No. 2:12-CV-86,

   2018 WL 4181706 (S.D. Ind. Aug. 31, 2018).

          7. On June 18, 2019, the court issued an opinion granting Webster’s Section

   2241 motion on the basis that Webster was intellectually disabled and thus ineligible for

   the death penalty. See Webster v. Lockett, No. 2:12-CV-86, 2019 WL 2514833 (S.D.

   Ind. June 18, 2019). It vacated Webster’s death sentence under Section 2241 and stated

   that “[t]he Attorney General has 120 days from the Entry of Final Judgment to take

   appropriate action in light of the writ.” Id. at *11.

   B.     The Court of Appeals’ Jurisdiction

          8.     The original notice-of-appeal deadline was August 19, 2019. See Fed. R.

   App. P. 4(a)(1)(B). On August 13, 2019, the United States moved for an extension of

   time in which to file the notice of appeal. See Fed. R. App. P. 4(a)(5). The district

   court granted the motion and extended the notice-of-appeal deadline until September 3,

   2019. The United States timely filed a notice of appeal on August 30, 2019.

          9.      The Seventh Circuit has subject-matter jurisdiction pursuant to 28 U.S.C.

   § 1291 and 28 U.S.C. § 2253(a).


                                                 5
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                                                      Respectfully submitted,

                                                      JOSH J. MINKLER
                                                      UNITED STATES ATTORNEY

                                               By:    s/ Jay Stevenson Weimer
                                                      Jay Stevenson Weimer
                                                      Special Assistant United States Attorney


                                 CERTIFICATE OF SERVICE

            This is to certify that on August 30, 2019, a copy of the foregoing Notice of

   Appeal was filed electronically. Notice of this filing will be sent to the following parties

   by operation of the Court’s CM/ECF system: Kirsten E. Schubert, Monica Foster and

   Steven J. Wells. I hereby certify that I have mailed by United States Postal Service the

   document to the following non CM/ECF participants: Bruce Carneil Webster, Register

   No. 26177-077, USP Terre Haute, U.S. Penitentiary, P.O. Box 33, Terre Haute, IN

   47808.



                                                      s/ Jay Stevenson Weimer
                                                      Jay Stevenson Weimer
                                                      Special Assistant United States Attorney
                                                      Office of the United States Attorney
                                                      10 West Market Street
                                                      Indianapolis, IN 46204-3048




                                                  6
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   TERRE HAUTE DIVISION

   BRUCE CARNEIL WEBSTER,                                )
                                                         )
                                  Petitioner,            )
          vs.                                            )       Cause No. 2:12-cv-86-WTL-MJD
                                                         )
   CHARLES LOCKETT,                                      )
                                                         )
                                  Respondent.            )


                            ENTRY ON INTELLECTUAL DISABILITY

          This cause is before the Court to determine whether Bruce Webster is entitled to relief

   under 28 U.S.C. § 2241. For the Court to grant the relief that Webster seeks, Webster must show

   by a preponderance of the evidence that he is intellectually disabled 1 and thus categorically

   ineligible for the death penalty. The parties have fully briefed the relevant issues and presented

   evidence at a hearing. The Court, being duly advised, finds that Webster has satisfied his burden

   of proving his intellectual disability by a preponderance of the evidence and is thus ineligible for

   the death penalty.

                                        I.      BACKGROUND

          On November 4, 1994, Bruce Webster was indicted in the United States District Court for

   the Northern District of Texas on six counts, including kidnapping in which a death occurred in

   violation of 18 U.S.C. §§ 1201(a)(1) and (2). Webster was convicted and was sentenced to death

   on June 20, 1996. United States v. Webster, 162 F.3d 308 (5th Cir. 1998).




          1
            Unless quoting or referring to a diagnosis, the Court will use the term “intellectual
   disability” rather than the term that was used at the time of Webster’s trial—“mental
   retardation.” See Hall v. Florida, 572 U.S. 701, 704 (2014).
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            Webster filed his initial Motion to Vacate Conviction and Sentence under

   28 U.S.C. § 2255 on September 29, 2000. This motion was subsequently amended and was

   denied in full on September 20, 2003. Webster v. United States, No. 4:00-CV-1646, 2003 WL

   23109787 (N.D. Tex. Sept. 30, 2003). The Fifth Circuit rejected Webster’s motion for relief

   under section 2255, United States v. Webster, 421 F.3d 308 (5th Cir. 2005), and his application

   for an order authorizing a successive § 2255 proceeding, In re Webster, 605 F.3d 256 (5th Cir.

   2010).

            On April 6, 2012, Webster filed a Petition for Writ of Habeas Corpus Pursuant to

   28 U.S.C. § 2241 in this Court, 2 challenging his death sentence based on what he argued was

   previously unavailable evidence—specifically, evidence from Social Security records—that

   establishes he is intellectually disabled and therefore ineligible for the death penalty under Atkins

   v. Virginia, 536 U.S. 304 (2002) and Hall v. Florida, 572 U.S. 701 (2014). On November 13,

   2013, this Court issued an order denying that petition. The Seventh Circuit affirmed this Court’s

   ruling on August 1, 2014. Webster v. Caraway, 761 F.3d 764 (7th Cir. 2014). However, en banc

   review was granted, and the en banc court reversed this Court’s decision and remanded for

   further proceedings. Webster v. Daniels, 784 F.3d 1123 (7th Cir. 2015) (en banc). This Court

   held a hearing in June 2018 pursuant to the Seventh’s Circuit directive and found that the Social

   Security records at issue were unavailable to Webster and his counsel at the time of trial despite

   trial counsel’s due diligence.

            The Seventh Circuit provided the following summary of the Social Security records’

   contents:




            2
            Webster is incarcerated at the United States Penitentiary, Terre Haute, which is located
   within the Southern District of Indiana.
                                                     2
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                 The newly produced records, which Webster’s current lawyers received on
         February 9, 2009, showed that Webster applied for Social Security benefits based
         on a sinus condition when he was 20 years old, approximately a year before the
         crime. The agency’s attention was evidently quickly redirected to Webster’s
         mental capacity. Two psychologists and one physician examined him. On
         December 22, 1993, Dr. Charles Spellman, a psychologist, evaluated him for the
         purpose of ascertaining his eligibility for Social Security benefits. He noted that
         “[i]deation was sparse and this appeared to be more of a function of his lower
         cognitive ability than of any mental illness.” Dr. Spellman also observed that
         Webster’s intellectual functioning was quite limited: he could not register three
         objects (meaning that he could not remember three objects a short time after they
         were shown to him); he could not do simple calculations; and he did not know
         what common sayings meant. With respect to adaptive functioning, Dr. Spellman
         stated that Webster lived with his mother; that he watched television, listened to
         the radio, and went walking; that he did no chores around the house; and that he
         was idle both in the house and on the streets. Taking into account both his
         estimate that Webster's I.Q. was 69 or lower and his assessment of adaptive
         functioning, Dr. Spellman concluded that Webster was mentally retarded and
         antisocial. He found no evidence of exaggeration or malingering.

                 A few months earlier, in October 1993, Dr. Edward Hackett conducted a
         full-scale WAIS I.Q. test on Webster. He came up with a verbal I.Q. of 71, a
         performance I.Q. of 49, and a full-scale I.Q. of 59. He evaluated Webster as
         “mildly retarded, but . . . also antisocial.” Pertinent to the central question of
         adaptive functioning, Dr. Hackett noted in a later report that “[Webster] was
         viewed as a somewhat mild[ly] retarded con man, but very street wise. . . . [H]e
         could not be functional in a community setting. . . . He would also not function
         well in the work place.” Dr. Hackett did not believe that Webster was capable of
         managing his own benefits. He found Webster’s behavior somewhat bizarre.
         Finally, he commented that on the I.Q. tests, Webster’s performance was
         estimated to be lower than his verbal score, and that some organic function might
         be involved.

                 The last professional to examine Webster in conjunction with the 1993
         Social Security application was Dr. C.M. Rittelmeyer, a physician. Dr.
         Rittelmeyer found Webster’s physical health to be fine, but he also had this to
         say: “Mental retardation. Flat feet. Chronic sinus problems and allergies by
         history.”

                The Social Security records included an intriguing letter that strongly
         suggested that Webster in fact had been in special education classes. It was dated
         November 8, 1993, and had been written by Lou Jackson, the Special Education
         Supervisor for the school system Webster had attended, Watson Chapel Schools.
         Jackson’s letter explained that Webster’s special education records had been
         destroyed in 1988, after the family did not respond to a letter “telling them they
         could have the records if they wanted them.”

                                                  3
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                  The Social Security records also provide some direct evidence about
          Webster’s abilities. The form Webster completed, for example, is rife with errors
          in syntax, spelling, punctuation, grammar, and thought. In response to a question
          asking him to describe his pain or other symptoms, Webster wrote “it causEs mE
          to gEt up sEt Easily hEadhurtsdiffiErnt of brEdth.” When asked about the side
          effects of his medication, he wrote “Is lEEp bEttEr.” When asked about his usual
          daily activities, Webster wrote (consistently with the comments from his teacher
          and employer) “I slEEps look at. cartoon.” He reported that he “ain’t got no
          chang” in his condition since its onset.

   Webster, 784 F.3d at 1133-34.

          The undersigned held a five-day hearing in April 2019 on the issue of whether Webster is

   intellectually disabled and thus constitutionally ineligible for the death penalty. The Court heard

   live testimony from the following witnesses: Dr. Mark Tassé; Dr. Daniel J. Reschly; Dr. John

   Fabian; Dr. Robert Denney; Dr. Erin Conner; John S. Edwards, III; and Phil Woolston. The

   Court also received the deposition testimony of Dr. Charles Spellman (video and transcript); Dr.

   Jacqueline Blessinger (transcript); and Larry Moore (video and transcript). Each party also

   introduced numerous exhibits. 3

              II.   DIAGNOSTIC CRITERIA FOR INTELLECTUAL DISABILITY

          In determining whether Webster is intellectually disabled, the Court will rely on the

   clinical definitions of intellectual disability promulgated by the American Association on

   Intellectual and Developmental Disabilities (“AAIDD”) and the American Psychiatric

   Association (“APA”) manuals: (1) AAIDD, Intellectual Disability: Definition, Classification,

   and Systems of Supports (11th ed. 2010) (“AAIDD-11”); and (2) APA, Diagnostic and




          3
           Over Webster’s objection, the Court also has considered the trial transcripts and
   evidence admitted during the trial that were introduced as exhibits at the hearing, including the
   Southeast Arkansas Economic Development Records and Arkansas State Police Driving
   Records.
                                                    4
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   Statistical Manual of Mental Disorders (5th ed. 2013) (“DSM-5”). See Moore v. Texas, 137 S.

   Ct. 1039, 1045 (2017) (relying on AAIDD-11 and DSM-5).

           As the Supreme Court has explained,

           the generally accepted, uncontroversial intellectual-disability diagnostic definition
           . . . identifies three core elements: (1) intellectual-functioning deficits (indicated
           by an IQ score approximately two standard deviations below the mean— i.e., a
           score of roughly 70—adjusted for the standard error of measurement); (2)
           adaptive deficits (the inability to learn basic skills and adjust behavior to changing
           circumstances); and (3) the onset of these deficits while still a minor.

   Moore, 137 S. Ct. at 1045. Each of these three prongs must be met for a person to be

   intellectually disabled. 4

           The APA defines intellectual disability as “a disorder with onset during the

   developmental period that includes both intellectual and adaptive functioning deficits in

   conceptual, social, and practical domains.” DSM-5 at 33. The following three criteria must be

   met before an individual may receive a diagnosis of intellectual disability:

           A. Deficits in intellectual functions, such as reasoning, problem solving, planning,
           abstract thinking, judgment, academic learning, and learning from experience,
           confirmed by both clinical assessment and individualized, standardized
           intelligence testing.

           B. Deficits in adaptive functioning that result in failure to meet developmental
           and sociocultural standards for personal independence and social responsibility.
           Without ongoing support, the adaptive deficits limit functioning in one or more
           activities of daily life, such as communication, social participation, and
           independent living, across multiple environments, such as home, school, work,
           and community.

           C. Onset of intellectual and adaptive deficits during the developmental period.

   Id.




           4
          The Government does not argue—and there is no suggestion in the record—that if
   Webster is intellectually disabled that condition did not arise prior to age 18.
                                                     5
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          The AAIDD provides a similar explanation, stating that intellectual disability is

   “characterized by significant limitations both in intellectual functioning and in adaptive behavior

   as expressed in conceptual, social, and practical adaptive skills. This disability originates before

   age 18.” AAIDD-11 at 6. Deficits in intellectual functioning are established by “an IQ score that

   is approximately two standard deviations below the mean, considering the standard error of

   measurement for the specific assessment instruments used and the instruments’ strengths and

   limitations.” Id. at 27. Deficits in adaptive functioning are measured by:

          performance on a standardized measure of adaptive behavior that is normed on
          the general population including people with and without [intellectual disability]
          that is approximately two standard deviations below the mean of either (a) one of
          the following three types of adaptive behavior: conceptual, social, and practical or
          (b) an overall score on a standardized measure of conceptual, social, and practical
          skills.

   Id.

          A. Intellectual Functioning

          The first prong requires an assessment of an individual’s intellectual functions that

   “involve reasoning, problem solving, planning, abstract thinking, judgment, learning from

   instruction and experience, and practical understanding.” DSM-5 at 37. Intellectual functioning

   is typically measured by intelligence quotient (IQ) tests. Id. The APA describes this prong, in

   relevant part, as follows:

          Intellectual functioning is typically measured with individually administered and
          psychometrically valid, comprehensive, culturally appropriate, psychometrically
          sound tests of intelligence. Individuals with intellectual disability have scores of
          approximately two standard deviations or more below the population mean,
          including a margin for measurement error (generally +5 points). On tests with a
          standard deviation of 15 and a mean of 100, this involves a score of 65–75 (70 ±
          5). Clinical training and judgment are required to interpret test results and assess
          intellectual performance.

   DSM-5 at 37. The AAIDD Manual provides:



                                                     6
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          The “significant limitations in intellectual functioning” criterion for a diagnosis of
          intellectual disability is an IQ score that is approximately two standard deviations
          below the mean, considering the standard error of measurement for the specific
          instruments used and the instruments’ strengths and limitations.

   AAIDD-11 at 31.

          B. Adaptive Functioning

          The second prong involves an assessment of an individual’s adaptive functioning to

   determine whether “adaptive deficits limit functioning in one or more activities of daily life, such

   as communication, social participation, and independent living, across multiple environments,

   such as home, school, work, and community.” DSM-5 at 33. The APA indicates that adaptive

   functioning involves adaptive reasoning in three broad domains:

          The conceptual (academic) domain involves competence in memory, language,
          reading, writing, math reasoning, acquisition of practical knowledge, problem
          solving, and judgment in novel situations, among others. The social domain
          involves awareness of others’ thoughts, feelings, and experiences; empathy;
          interpersonal communication skills; friendship abilities; and social judgment,
          among others. The practical domain involves learning and self-management
          across life settings, including personal care, job responsibilities, money
          management, recreation, self-management of behavior, and school and work task
          organization, among others.

   DSM-5 at 37-38.

          A person’s adaptive functioning in at least one of these three domains must be

   “sufficiently impaired that ongoing support is needed in order for the person to perform

   adequately in one or more life settings at school, at work, at home, or in the community.” Id. at

   38; Moore, 137 S. Ct. at 1046 (“In determining the significance of adaptive deficits, clinicians

   look to whether an individual’s adaptive performance falls two or more standard deviations

   below the mean in any of the three adaptive skill sets (conceptual, social, and practical).”). The

   AAIDD defines the second prong as “significant limitations . . . in conceptual, social, and




                                                    7
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   practical skills.” AAIDD-11 at 43. Further, “the deficits in adaptive functioning must be directly

   related to the intellectual impairments described in [the first prong].” DSM-5 at 38.

             Both the DSM-5 and the AAIDD-11 direct clinicians to use standardized measures of

   adaptive functioning when possible. See DSM-5 at 37 (“Adaptive functioning is assessed using

   both clinical evaluation and individualized, culturally appropriate, psychometrically sound

   measures.”); AAIDD-11 at 43 (“[S]ignificant limitations in adaptive behavior should be

   established through the use of standardized measures normed on the general population . . . .”).

                    III.    FINDINGS OF FACT AND CONCLUSIONS OF LAW

             The Court will address Webster’s intellectual functioning and adaptive functioning in

   turn.

                               A.      Webster’s Intellectual Functioning

             The Court finds that Webster has proved by a preponderance of the evidence that he has

   significant limitations in intellectual functioning and thus satisfies the first prong of the

   intellectual disability definition. He has produced reliable evidence that he has an IQ at least two

   standard deviations below the mean. 5

             Webster has produced the following IQ test scores:

           Psychologist                           Year                   Score

           Dr. Patrick Caffey (Arkansas           1992                   48 (Full scale)
           Department of Mental Health)                                  56 (Verbal)
                                                                         48 (Performance)
           Dr. Edward Hackett (Social Security    1993                   59 (Full scale)
           Administration)                                               71 (Verbal)
                                                                         49 (Performance)
           Dr. Raymond Finn (Defense trial        1995                   59 (Full scale)
           expert)                                                       59 (Verbal)

             5
           “Although far from perfect, intellectual functioning is currently best represented by IQ
   scores when they are obtained from appropriate, standardized and individually administered
   assessment instruments.” AAIDD-11 at 31.
                                                      8
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                                                                         60 (Performance)
        Dr. Dennis Keyes (Defense trial           1995                   55 (Composite)
        expert)                                                          67 (Crystalized)
                                                                         46 (Fluid)
        Dr. Raymond Finn (Defense trial           1996                   65 (Full scale)
        expert)                                                          72 (Verbal)
                                                                         59 (Performance)
        Dr. Dennis Keyes (Defense trial           1996                   51 (Full scale)
        expert)                                                          N/A (Verbal)
                                                                         N/A (Performance)
        Dr. George Parker (Government trial 1996                         72 (Full scale)
        expert)                                                          77 (Verbal)
                                                                         67 (Performance)
        Dr. Robert Denney (Government             2018                   61 (Full scale)
        expert)                                                          63 (Verbal)
                                                                         69 (Performance)
        Dr. Daniel Reschly (Webster expert)       2018                   53 (Full scale)
                                                                         N/A (Verbal)
                                                                         N/A (Performance)

   Additionally, as noted above, as part of the Social Security process in 1993, Dr. Spellman

   estimated that Webster’s IQ was 69 or lower, and Dr. Rittelmeyer commented that Webster was

   mentally retarded.

           All of Webster’s full-scale IQ tests fall below 75. The parties agree that some of the tests

   are invalid and should not be considered. 6 Eliminating those scores, the remaining scores are as

   follows: 59, 59, 65, 51, 55, 61, and 53. 7 Thus, if these scores are valid, they demonstrate that

   Webster satisfies the intellectual deficit prong of intellectual disability.


           6
             Specifically, the score obtained in 1992 by Dr. Caffey might have been artificially low
   because the test was administered while Mr. Webster was experiencing mental health symptoms,
   including perhaps symptoms of schizophrenia, and in 1996 Dr. Parker improperly omitted certain
   subtests, which rendered the results he obtained unreliable.
           7
             The weight of the evidence supports a finding that Webster was not motivated to
   underperform on tests conducted prior to his trial. The evidence presented at the trial included
   only one IQ test that had been performed on Webster before the crime—the 1992 test done at the
   Southeast Arkansas Mental Health Clinic. Notably, the jury did not hear evidence that was later
   obtained from Webster’s Social Security files: Webster had scored 59 on Dr. Hackett’s test; Dr.
   Spellman had estimated Webster’s IQ to be 69 or lower; and Dr. Rittelmeyer commented that
   Webster was “mentally retarded.” In light of the Government’s arguments at trial that Webster
                                                      9
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          The scores themselves were obtained over a period of twenty-five years and consistently

   demonstrate that Webster has an IQ that falls within the range of someone with intellectual

   deficits. In reaching this conclusion, the Court finds that the evidence does not support a finding

   of malingering 8 such that the tests are invalid. The Court relies on the testimony of Dr. Fabian,

   who is board certified in forensic psychology and clinical psychology and fellowship trained in

   neuropsychology. 9 Specifically, Dr. Fabian explained that the effort testing 10 showed, at most,



   was motivated to underperform on later tests to avoid the death penalty, this omission is
   particularly significant.
           8
             The APA describes malingering as follows:

          The essential feature of malingering is the intentional production of false or
          grossly exaggerated physical or psychological symptoms, motivated by external
          incentives such as avoiding military duty, avoiding work, obtaining financial
          compensation, evading criminal prosecution, or obtaining drugs. . . . Malingering
          should be strongly suspected if any combination of the following is noted:

          1. Medicolegal context of presentation (e.g., the individual is referred by an
             attorney to the clinician for examination, or the individual self-refers while
             litigation or criminal charges are pending).

          2. Marked discrepancy between the individual’s claimed stress or disability and
             the objective findings and observations.

          3. Lack of cooperation during the diagnostic evaluation and in complying with
             the prescribed treatment regimen.

          4. The presence of antisocial personality disorder.

   DSM-5 at 726-27.
           9
             The Court finds the testimony of Dr. Fabian to be extremely credible and persuasive. Of
   particular note is that Dr. Fabian acknowledged and considered evidence that was contrary to his
   ultimate conclusion. As he put it, “Certainly, there are strengths and weaknesses in these cases.
   They’re not perfect cases, but you want to look at the case in its totality and come up with your
   clinical judgment and overall opinion as to your findings as in this case what intellectual
   disability is or whether that person has it.” Dkt. No. 192 at 161. Nonetheless, after applying his
   clinical judgment to the totality of the evidence and facts, Dr. Fabian concluded that Webster did
   have a mild intellectual disability.
           10
              Effort testing involves stand-alone or embedded questions within another test used to
   determine whether someone is putting forth adequate effort on a test.
                                                    10
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   that Webster at times had variable effort. 11 He also distinguished malingering from poor effort

   and pointed to Webster’s “base foundation of complex trauma” and the atypical testing

   conditions. Dkt. No. 192 at 145. Dr. Fabian also testified that low IQ creates a risk of false

   positives for poor effort on effort tests and that Webster passed most of the Reliable Digit Span

   tests and other later effort tests. The Court credits Dr. Fabian’s testimony that, considering all of

   these factors, Webster was not malingering. 12

          Further, the Court credits the testimony of Dr. Reschly, a school psychologist who is

   currently a professor emeritus of Education and Psychology at Vanderbilt University, that it

   would be “extremely difficult” to consistently fake IQ scores in that range over the course of

   twenty-seven years. 13 Dkt. No. 189 at 173. The Court also credits the testimony of Dr. Reschly



          11
               The Government argues that the validity tests indicated that Webster was malingering.
   Specifically, the Government points to the testimony of Dr. Denney that Webster failed the Word
   Memory Test (“WMT”) and that Webster’s results on the Medical Symptom Validity Test
   (“MSVT”) also showed that Webster was malingering. For the reasons explained below, the
   Court gives Dr. Denney’s testimony little weight.
            12
               The Government has pointed to contrary evidence, including DSM-5 factors that the
   Government argues indicate that malingering should be strongly suspected. Specifically, the
   Government points to the fact that much of Webster’s testing occurred in the medicolegal
   context of presentation. Further, the Government points to evidence that there was a marked
   discrepancy between Webster’s claimed disability and the objective findings and observations.
   As the Government notes, even some of Webster’s own experts were surprised by the test
   results. The Government acknowledges that it is difficult to evaluate the third factor—lack of
   cooperation with the diagnostic evaluation and in compliance with the prescribed treatment
   regimen—but points to Dr. Hackett’s observation that Webster showed no signs of wanting to
   improve. Finally, Webster has been diagnosed with antisocial personality disorder. While the
   Court gives this evidence some weight, for the reasons explained above, the Court finds that this
   evidence is outweighed by other evidence that does not support a finding of malingering.
            13
               The Court finds the testimony of Dr. Denney, a licensed clinical psychologist who is
   board certified in clinical neuropsychology and forensic psychology, overall to be not credible
   and thus gives it little or no weight. As a whole, Dr. Denney focused on evidence that supported
   his conclusions while ignoring, disregarding, or minimizing evidence that called his conclusions
   into question.
            For example, the Court finds that the testimony of Dr. Denney that malingering on IQ
   tests is easy is unsupported by the article on which Dr. Denney relied. In fact, the article reached
   the following conclusion: “The results of this study suggest that faking low on the WAIS-R is a
                                                    11
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   that it would be “extremely unusual” for a person to have the same performance across multiple

   subtests; rather, what happens frequently “is that there are fairly wide variations across different

   subtests.” Dkt. No. 189 at 178. 14 The Court also credits the testimony of Dr. Fabian that

   Webster’s IQ scores were consistent and indicated mild intellectual disability. Dr. Fabian’s own




   difficult endeavour.” Lorraine Johnstone & David J. Cooke, “Feigned Intellectual Deficits on the
   Wechsler Adult Intelligence Scale-Revised,” 42 British J. of Clinical Psych. 303, 314 (2003).
   When asked about this statement in the article, Dr. Denney replied, “Yes. It says that in that
   sentence, but that’s not what that’s talking about at that point.” Dkt. No. 192 at 118. He did not
   elaborate. In any case, the study did not address the ease of repeatedly producing fake low IQ
   test results over several decades, as the Government argues Webster did.
            Similarly, Dr. Denney’s criticism of Dr. Reschly for allegedly being not properly licensed
   in Indiana and allegedly practicing outside his training as a school psychologist is not well taken.
   Dr. Denney himself is not licensed in Indiana, and Dr. Denney acknowledged that he worked
   with a master’s level school psychologist who did testing in a prison setting.
            More importantly, some of Dr. Denney’s testimony is demonstrably incorrect or appears
   to reveal biases. Specifically, Dr. Denney testified that the results of the Test of Malingering
   Memory (“TOMM”) administered by Dr. Reschly should be considered invalid because Dr.
   Reschly “didn’t give the whole test. He only gave the first two trials. He didn’t give the retention
   trial, which research shows makes it a more sensitive validity test. He didn’t do that, but the
   results of it were within expected limits.” Dkt. No. 191 at 208. Dr. Reschly, however, did
   administer all three trials of the TOMM, including the retention trial, and Webster passed all
   three trials. Dr. Denney testified that he had access to the raw data from Dr. Reschly’s
   administration of the TOMM—which shows that the retention trial was administered.
            Also troubling to the Court is Dr. Denney’s reliance on an evaluation done on July 8,
   1992, in which, according to Dr. Denney, psychiatrists at the Southeast Arkansas Mental Health
   Center “did not see an indication of a substantially low intellectual functioning in their
   examination.” Dkt. No. 192 at 25. Notably, the report to which Dr. Denney refers does not
   mention Webster’s intellectual functioning, instead focusing on Webster’s reports of the voices
   in his head that were telling him to kill people. It does, however, mention that Webster was in for
   psychological testing. At the time Dr. Denney formed his opinion on the psychiatric evaluation
   report, he had not realized that another report, completed by a psychologist examiner and
   consulting psychologist at the Southwest Arkansas Mental Health Center on the same day,
   showed that Webster had a full-scale IQ of 48. Even after Dr. Denney reviewed the reports of the
   psychological evaluation for the first time during the hearing, he refused to consider explanations
   other than the conclusion he had reached before learning of the psychological evaluation report.
            14
               The Government points to Dr. Denney’s testimony that Webster’s test results are
   inconsistent and mutually contradictory. The Court has considered this testimony but finds that it
   is outweighed by other evidence discussed above.
                                                    12
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   testing to assess Webster’s general reasoning ability was also consistent with the IQ testing that

   Drs. Denney and Reschly conducted.

          Looking first at the tests that were performed before the crime, the weight of the evidence

   supports a finding that Webster was not motivated to underperform on the testing performed as

   part of his application for Social Security. 15 In the form Webster filled out, he described his

   symptoms as follows:




          15
            The Government argues that Webster had motive to malinger when he was tested to
   determine his eligibility for Social Security benefits. In support of that argument, the
   Government points to the testimony of Dr. Denney: “And, while Webster argues that he only
   applied for benefits due to sinus problems, his mother told Dr. Denney that she brought Webster
   to the Social Security Administration because of his sinus problem and concerns that he may
   have issues with his brain. Hr. Tr. 688:1-9.” Dkt. No. 195 at 38.

          In fact, Dr. Denney testified as follows:

          Q: In 1993, [Webster] applied for Social Security; is that correct?
          A: I’m not exact on the date; but yes, he did apply.
          Q: Okay. And he applied because he had sinus trouble; is that right?
          A: Well, that’s what’s written on the document. I recalled -- actually, I recalled it last
          night, that Mrs. Webster told me during her interview that they applied for sinus
          problems; and she also told me that she was concerned that that might relate to his brain.
          Q: That his sinus trouble might relate to his brain?
          A: Yes.
          Q: That’s what Mrs. Webster told you?
          A: Yes, it was in the notes.

   Dkt. No. 192 at 34-35. As such, the Government’s argument mischaracterizes Dr. Denney’s
   testimony.
                                                      13
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   Hrg. Ex. 21 at 63. 16 In additional Social Security documents, Webster also referred to sinus

   symptoms as the basis for his disability claim.

          Further, Dr. Charles Spellman, 17 a psychologist who conducted a mental status evaluation

   of Webster at the request of the Social Security Administration in 1993 and who found that

   Webster’s total presentation was of someone who was mentally retarded, with an IQ of 69 or

   lower, testified that he is “always hyper vigilant for malingering” Dkt. No. 164-1 at 31, yet he

   found no evidence of exaggeration or malingering. 18

          With regard to the testing that was performed after the crime and before Webster’s trial,

   the testimony of Larry Moore, Webster’s trial attorney, which the Court finds to be credible,

   established that Webster did not know the purpose of the testing that was conducted between the

   time of the crime and Webster’s trial and that Moore told Webster to do his best because the



          16
              The Court did not consider Exhibits 42 and 43 in making its ruling, as the Court found
   other evidence sufficient to make its findings with regard to whether Webster is intellectually
   disabled.
           17
              The Court considered the testimony of Dr. Spellman over Webster’s objection.
           18
              During Dr. Spellman’s deposition, the Government asked Dr. Spellman many
   hypothetical questions about whether a person who was intellectually disabled could perform
   certain tasks. The Court gives no weight to his answers to those questions, as the questions did
   not provide Dr. Spellman with enough details or context to warrant giving his answers weight in
   making a finding specific to Webster.
                                                     14
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   better Webster did, the more it would help him. Moreover, Moore testified that he purposely

   avoided telling Webster that he planned to argue that Webster was mentally retarded until right

   before jury selection because he knew that Webster did not like the term and “didn’t want to be

   stigmatized as being retarded.” Dkt. No. 164-2 at 25. Accordingly, the Court finds that Webster

   has presented convincing evidence that he was not motivated to malinger on the IQ tests given in

   1995 and 1996 and that the results of those tests are valid.

           The Court finds that Webster has shown by a preponderance of the evidence that his IQ

   scores were valid, and, after considering the evidence as a whole, the Court finds that Webster

   has shown by a preponderance of the evidence that he has deficits in intellectual functioning. 19

                                 B.      Webster’s Adaptive Functioning

           The Court finds that Webster also has proved by a preponderance of the evidence that he

   has significant limitations in adaptive functioning and thus satisfies the second prong of the

   intellectual disability definition.

           The Court gives great weight to the testimony of Dr. Fabian that Webster has significant

   deficits in adaptive behavior. Dr. Fabian administered a series of tests to Webster and considered

   adaptive functioning assessments administered by other psychologists. Dr. Fabian also spent a

   great deal of time interviewing Webster and reviewed numerous records, including Webster’s

   school records and the Social Security records. Additionally, Dr. Fabian’s explanation of why he

   gave weight to some evidence while giving little weight to other evidence was especially

   persuasive. In particular, the Court found Dr. Fabian’s explanation of why he gave little weight




           19
            In reaching its decision, the Court has considered the evidence that could suggest that
   Webster does not have deficits in intellectual functioning, including Dr. Denney’s testimony as
   to the import of the results of Webster’s effort testing, Webster’s real-world functioning, and
   Webster’s achievement test scores.
                                                    15
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   to Webster’s adaptive functioning in prison to be very convincing. Dr. Fabian explained that a

   prison environment is very structured, and everything is available to an inmate.

          The Court also credits the testimony of Dr. Reschly that Webster meets the second prong.

   Dr. Reschly considered a wide variety of information in reaching his decision, and he

   interviewed many people who knew Webster during the developmental period, including people

   who are not his direct relatives. Dr. Reschly also considered standardized adaptive behavior

   assessments, and the Court finds his explanation of why the more recent adaptive behavior

   assessments should be viewed with caution to be persuasive. Dr. Reschly explained that

   someone with an intellectual disability does not likely function in the “predictable, very rigid

   structure” of prison the same way that person would function outside of that environment. Dkt.

   No. 190 at 43. The Court also credits the testimony of Dr. Reschly that Webster has deficits in

   the conceptual, social, and practical domains.

          In reaching this conclusion, the Court also has looked to the Social Security records that

   were not available to Webster at the time of his trial. As the Seventh Circuit pointed out, the

   application materials revealed that Webster was barely literate. 20 For example, for information

   about his job duties, Webster listed his job title as “Cement” and provided the following

   description:




          20
             The Court also found persuasive Dr. Fabian’s characterization of Webster’s responses
   to questions in the Social Security records as being concrete and limited, which Dr. Fabian
   testified was consistent with his interactions with Webster.
                                                    16
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   Hrg. Ex. 21 at 66. He listed this same job on four separate pages, although the instructions

   indicated that the applicant should provide the information for each job he had listed, and

   Webster had listed only one job.

          Webster’s answers to the section on Recreational Activities and Hobbies also supports

   the conclusion that Webster was barely literate:




                                                      17
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   Hrg. Ex. 21 at 19.



                                        18
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          The Government has pointed to evidence that Webster does exhibit areas of strength,

   including, but not limited to, his musical ability, excellent hygiene, ability to drive, achievement

   test scores, and ability to engage in conversation. 21 The Government also has argued that the

   facts of the crime demonstrate that Webster does not have deficits in adaptive functioning. 22

   However, in accordance with guidance from the medical community and as instructed by the

   Supreme Court, the Court has focused its adaptive-functioning inquiry on adaptive deficits. See

   Moore I, 137 S. Ct. at 1050 (citing AAIDD-11, at 47 (“significant limitations in conceptual,

   social, or practical adaptive skills [are] not outweighed by the potential strengths in some

   adaptive skills”); DSM-5, at 33, 38 (inquiry should focus on “[d]eficits in adaptive functioning”;

   deficits in only one of the three adaptive-skills domains suffice to show adaptive deficits);

   see Brumfield [v. Cain, 135 S. Ct. 2269, 2281 (2015)] (“[I]ntellectually disabled persons may

   have ‘strengths in social or physical capabilities, strengths in some adaptive skill areas, or

   strengths in one aspect of an adaptive skill in which they otherwise show an overall limitation.’”

   (quoting AAMR, Mental Retardation: Definition, Classification, and Systems of Supports 8

   (10th ed. 2002))).

          Over Webster’s objections, the Court has considered evidence about Webster’s behavior,

   education, work, and mental health in prison, including all of the Bureau of Prisons records 23



          21
               For reasons explained above, the Court gives little weight to the testimony of Dr.
   Denney that Webster does not have significant deficits in the conceptual domain, social domain,
   or practical domain. The Court has looked at the evidence pointed to by Dr. Denney in support of
   his conclusion and does not find Dr. Denney’s explanation as to the conclusions that he has
   drawn to be persuasive.
            22
               Over Webster’s objection, the Court has considered evidence about the facts of the
   crime and has viewed those facts in the light that most favorably supports the Government’s
   argument.
            23
               These records include the emails that the Government argues that Webster has written
   while incarcerated. The Court has assumed for the purposes of making its findings that Webster
   did, in fact, write these emails himself.
                                                    19
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   introduced by the Government and the testimony of Dr. Jacqueline Blessinger; John S. Edwards,

   III; and Phil Woolston.24 The Court also considered much of the testimony of Dr. Erin Conner. 25

   The Court gives little weight to this evidence, relying on Dr. Fabian’s cautions as to the use of

   such evidence. See also Moore I, 137 S. Ct. at 1050 (“Clinicians, however, caution against

   reliance on adaptive strengths developed ‘in a controlled setting,’ as a prison surely is. DSM-5, at

   38 (‘Adaptive functioning may be difficult to assess in a controlled setting (e.g., prisons,

   detention centers); if possible, corroborative information reflecting functioning outside those

   settings should be obtained.’); see AAIDD-11 User’s Guide 20 (counseling against reliance on

   ‘behavior in jail or prison’”).). Additionally, the Court would give little weight to the testimony

   of Drs. Conner and Blessinger even had their interactions with Webster not taken place in a

   prison setting. Neither the quantity nor depth of their interactions with Webster would lead the

   Court to find their testimony to be more persuasive than that of Drs. Fabian and Reschly. The

   Court did consider Edwards’ testimony as to his conversations with Webster, observations of

   Webster’s behavior and performance as an orderly, and emails that he received that he believed

   to be from Webster but finds that this testimony is outweighed by other evidence discussed

   above.

            Weighing the evidence as whole, the Court finds that Webster does have deficits in his

   adaptive functioning. 26 Further, the Court finds that the evidence supports a finding that




            24
               Woolston has only been briefly introduced to Webster. Woolston testified to lay the
   foundation for the BOP educational records, which the Court has admitted and considered.
            25
               The Court finds that Dr. Conner’s testimony about inmate Ronell Wilson is not
   relevant; as such, the Court did not consider that testimony.
            26
               While there was some evidence that Webster was not in special education classes in
   school, the Court finds that the weight of the evidence supports a finding that Webster was, in
   fact, in special education. In making this finding, the Court has considered, over Webster’s
   objections, the school records introduced by the Government at the hearing.
                                                    20
Case 2:12-cv-00086-JPH-MJD Document 207 Filed 09/03/19 Page 32 of 60 PageID #: 7114




   Webster’s deficits are related to intellectual functioning. 27 In making this decision, the Court has

   considered, over Webster’s objection, evidence of Webster’s other psychological conditions. 28

   Therefore, the Court finds that Webster has shown by a preponderance of the evidence that he

   has significant deficits in adaptive functioning and as such satisfies the second prong of

   intellectual disability.

                                          IV.     CONCLUSION

           The Court finds that Webster has met his burden and shown by a preponderance of the

   evidence that he is intellectually disabled, as he meets all three prongs of intellectual disability:

   1) Webster has intellectual-functioning deficits; 2) Webster has adaptive deficits; and 3) the

   onset of these deficits was while Webster was a minor. In making this ruling, the Court has

   carefully considered the totality of the evidence and weighed the testimony in accordance with

   its credibility assessment of each witness.

           Accordingly, Webster’s petition for a writ of habeas corpus is GRANTED. Webster’s

   death sentence is vacated under 28 U.S.C. § 2241. The Attorney General has 120 days from the

   Entry of Final Judgment to take appropriate action in light of the writ. Further sentencing

   proceedings shall occur in the Northern District of Texas.

           SO ORDERED: 6/18/2019




   Copies to all counsel of record via electronic communication.



           27
              Dr. Tassé testified that it is impossible to prove this relationship clinically. See Dkt. No.
   189 at 48 (“[W]e wouldn’t know whether it’s the adaptive behavior deficits that caused the
   intellectual functioning deficits or the intellectual deficits caused the adaptive behavior
   deficits.”). The Court finds his testimony on this topic to be persuasive.
           28
              Specifically, the Government has pointed to Webster’s antisocial personability disorder.
                                                     21
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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     TERRE HAUTE DIVISION

   BRUCE CARNEIL WEBSTER,                                )
                                                         )
                                  Petitioner,            )
          vs.                                            )      Cause No. 2:12-cv-86-WTL-MJD
                                                         )
   CHARLES LOCKETT,                                      )
                                                         )
                                  Respondent.            )


                                                JUDGMENT

          The Court having this day directed the entry of final judgment, the Court now enters

   FINAL JUDGMENT in favor of the petitioner, Bruce Webster, and against the respondent.

   Webster’s petition for a writ of habeas corpus is granted. Webster’s death sentence is vacated

   under 28 U.S.C. § 2241. The Attorney General has 120 days from the Entry of Final Judgment to

   take appropriate action in light of the writ. Further sentencing proceedings shall occur in the

   Northern District of Texas.

          SO ORDERED: 6/18/2019




   Copies to all counsel of record via electronic communication.
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    TERRE HAUTE DIVISION

   BRUCE CARNEIL WEBSTER,                              )
                                                       )
                                Petitioner,            )
                                                       )
                           v.                          )       No. 2:12-cv-00086-JPH-MJD
                                                       )
   CHARLES LOCKETT,                                    )
                                                       )
                                Respondent.            )

     ORDER GRANTING RESPONDENT’S MOTIONS TO EXTEND THE NOTICE-OF-
                          APPEAL DEADLINE

          Respondent moves pursuant to Federal Rule of Appellate Procedure 4(a)(5) to extend the

   notice-of-appeal deadline from August 19, 2019, to September 3, 2019. Respondent’s motion is

   timely and sets forth good cause for the extension as required by under Federal Rule of Appellate

   Procedure 4(a)(5)(A). Petitioner does not oppose the extension.

          For these reasons, Respondent’s duplicative motions to extend the notice-of-appeal

   deadline, dkt. [201], dkt. [202], are GRANTED. The notice-of-appeal deadline is extended

   through September 3, 2019.

   SO ORDERED.

   Date: 8/16/2019



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                                                  1
Case 2:12-cv-00086-JPH-MJD Document 207 Filed 09/03/19 Page 35 of 60 PageID #: 7117




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                      *** PUBLIC DOCKET ***
                                                           APPEAL,HABEAS,MANDATE,CLOSED

                                  U.S. District Court
                       Southern District of Indiana (Terre Haute)
                 CIVIL DOCKET FOR CASE #: 2:12-cv-00086-JPH-MJD


 WEBSTER v. LOCKETT                                            Date Filed: 04/06/2012
 Assigned to: Judge James Patrick Hanlon                       Date Terminated: 06/18/2019
 Referred to: Magistrate Judge Mark J. Dinsmore                Jury Demand: None
 Case in other court: 7th Circuit, 14-01049 - Mandate          Nature of Suit: 535 Death Penalty -
 Cause: 28:2241 Petition for Writ of Habeas Corpus (federal)   Habeas Corpus
                                                               Jurisdiction: Federal Question
 Petitioner
 BRUCE CARNEIL WEBSTER                        represented by Florence Italia Patti
                                                             INDIANA FEDERAL COMMUNITY
                                                             DEFENDERS
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                                                             ATTORNEY TO BE NOTICED


 Date Filed       #    Docket Text
 04/06/2012        1 PETITION for Writ of Habeas Corpus, filed by BRUCE CARNEIL
                     WEBSTER. (Attachments: # 1 Receipt # IP029188)(MAC) (Entered:
                     04/06/2012)
 04/06/2012        2 NOTICE of Appearance by Eric K. Koselke on behalf of Petitioner BRUCE
                     CARNEIL WEBSTER. (MAC) (Entered: 04/06/2012)
 04/06/2012        3 DECLARATION of Steven J. Wells re 1 Petition for Writ of Habeas Corpus
                     pursuant to 28 U.S.C. Section 2241 by BRUCE CARNEIL WEBSTER.
                     (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
                     Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10
                     Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N, # 15
                     Exhibit O, # 16 Exhibit P, # 17 Exhibit Q, # 18 Exhibit R, # 19 Exhibit S, # 20
                     Exhibit T, # 21 Exhibit U, # 22 Exhibit V, # 23 Exhibit W, # 24 Exhibit X, #
                     25 Exhibit Y)(MAC) (Entered: 04/06/2012)
 04/06/2012        4 CIVIL COVER SHEET, filed by Petitioner BRUCE CARNEIL WEBSTER.
                     (MAC) (Entered: 04/06/2012)
 04/19/2012        5 MOTION for Attorney Kirsten E. Schubert to Appear pro hac vice, filed by
                     Petitioner BRUCE CARNEIL WEBSTER. (Attachments: # 1 Text of
                     Proposed Order Granting Schurbert to appear Pro Hac Vice)(RSF) (Entered:
                     04/19/2012)
 04/19/2012        6 MOTION for Attorney Steven J. Wells to Appear pro hac vice, filed by
                     Petitioner BRUCE CARNEIL WEBSTER. (Attachments: # 1 Text of
                     Proposed Order Granting Wells to appear Pro Hac Vice)(RSF) (Entered:
                     04/19/2012)
 04/19/2012        7 RECEIPT #IP029385 in the amount of $ 30.00 regarding PHV appearance of
                     Kirsten E. Schubert. (RSF) (Entered: 04/19/2012)
 04/19/2012        8 RECEIPT #IP029386 in the amount of $ 30.00 regarding PHV appearance of
                     Steven J. Wells. (RSF) (Entered: 04/19/2012)
 04/19/2012        9 ENTRY and ORDER TO SHOW CAUSE - A copy of this Entry and Order to
                     Show Cause shall be distributed to the United States Attorney. The respondent
                     shall have through May 30, 2012, in which to answer the allegations of the
                     habeas petition, and in doing so shall show cause why the relief sought by the
                     petitioner should not be granted. The petitioner shall have thirty (30) days
                     after service of the answer in which to reply. (See Entry.) Copies mailed
                     pursuant to distribution list. Signed by Judge William T. Lawrence on
                     4/19/2012.(RSF) (Entered: 04/19/2012)
 04/19/2012       10 ***PLEASE NOTE MARGINAL ENTRY***ORDER granting 6 Motion to
                     Appear pro hac vice. Attorney Steven J. Wells for BRUCE CARNEIL




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                       WEBSTER added. Signed by Magistrate Judge William G. Hussmann, Jr., on
                       4/19/2012. (NRN) (Entered: 04/19/2012)
 04/19/2012       11 ***PLEASE NOTE MARGINAL ENTRY***ORDER granting 5 Motion to
                     Appear pro hac vice. Attorney Kristen E. Schubert for BRUCE CARNEIL
                     WEBSTER added. Signed by Magistrate Judge William G. Hussmann, Jr., on
                     4/19/2012. (NRN) (Entered: 04/19/2012)
 05/02/2012       12 NOTICE of Appearance by Gerald A. Coraz on behalf of Respondent
                     CHARLES LOCKETT. (Coraz, Gerald) (Entered: 05/02/2012)
 05/02/2012       13 MOTION for Extension of Time to August 28, 2012 , filed by Respondent
                     CHARLES LOCKETT. (Attachments: # 1 Text of Proposed Order)(Coraz,
                     Gerald) (Entered: 05/02/2012)
 05/09/2012       14 ENTRY - granting in part and denying in part 13 Motion for Extension of
                     Time. The respondent shall have through July 10, 2012, in which to show
                     cause why the relief sought by the petitioner shall not be granted. (See Entry.)
                     Signed by Judge William T. Lawrence on 5/9/2012. (RSF) (Entered:
                     05/09/2012)
 07/03/2012       15 Second MOTION for Extension of Time to August 9, 2012 , filed by
                     Respondent CHARLES LOCKETT. (Attachments: # 1 Text of Proposed
                     Order)(Coraz, Gerald) (Entered: 07/03/2012)
 07/08/2012       16 ORDER - granting 15 Motion for Extension of Time, to 8/9/12, in which to
                     respond to the petitioner's Writ of Habeas Corpus. Signed by Judge William T.
                     Lawrence on 7/8/2012. (RSF) Modified on 7/9/2012 - removed language
                     regarding mailing copy to petitioner (RSF). (Entered: 07/09/2012)
 08/07/2012       17 RETURN TO ORDER TO SHOW CAUSE, re 9 Order to Show Cause, filed
                     by CHARLES LOCKETT.. (Attachments: # 1 Attach 1-Summary Evidence, #
                     2 Attach 2-Westlaw Document)(Coraz, Gerald) (Entered: 08/07/2012)
 08/16/2012       18 First MOTION for Extension of Time to September 29, 2012 , filed by
                     Petitioner BRUCE CARNEIL WEBSTER. (Attachments: # 1 Text of
                     Proposed Order)(Schubert, Kirsten) (Entered: 08/16/2012)
 08/16/2012       19 Amended MOTION for Extension of Time to September 28, 2012 , filed by
                     Petitioner BRUCE CARNEIL WEBSTER. (Attachments: # 1 Text of
                     Proposed Order)(Schubert, Kirsten) (Entered: 08/16/2012)
 08/20/2012       20 ENTRY - denying as moot 18 Motion for Extension of Time, and granting 19
                     Motion for Extension of Time, to 9/28/12, in which to file reply. Signed by
                     Judge William T. Lawrence on 8/20/2012. (RSF) Modified on 8/20/2012
                     (RSF). (Entered: 08/20/2012)
 09/20/2012       21 Second MOTION for Extension of Time to October 12, 2012 , filed by
                     Petitioner BRUCE CARNEIL WEBSTER. (Attachments: # 1 Proposed Order)
                     (Schubert, Kirsten) (Entered: 09/20/2012)
 09/24/2012       22 ORDER - granting 21 Motion for Extension of Time, to 10/12/12, in which to
                     Reply to Respondent's Return to Order to Show Cause. Signed by Judge



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                       William T. Lawrence on 9/24/2012. (RSF) (Entered: 09/24/2012)
 10/12/2012       23 RESPONSE Reply to Return to Order to Show Cause, re 17 Return to Order to
                     Show Cause, filed by Petitioner BRUCE CARNEIL WEBSTER. (Schubert,
                     Kirsten) (Entered: 10/12/2012)
 10/12/2012       24 AFFIDAVIT re 23 Response of Kirsten E. Schubert by BRUCE CARNEIL
                     WEBSTER. (Attachments: # 1 Exhibit Exhibit A - 6-24-08 Rodgers Letter)
                     (Schubert, Kirsten) (Entered: 10/12/2012)
 10/12/2012       25 DECLARATION of Kristen K. LeRoux re 23 Response by BRUCE
                     CARNEIL WEBSTER. (Attachments: # 1 Exhibit A - 1996 Fax to SSA, # 2
                     Exhibit B - 10-27-08 Letter to SSA, # 3 Exhibit C - 12-15-08 Letter to SSA, #
                     4 Exhibit D - 10-8-09 Letter to SSA, # 5 Exhibit E - 10-22-09 Letter from
                     SSA, # 6 Exhibit F - 11-23-09 Letter to SSA, # 7 Exhibit G - 12-4-09 Letter
                     from SSA)(Schubert, Kirsten) (Entered: 10/12/2012)
 09/03/2013       26 NOTICE of Change of Attorney Information. Consistent with Local Rule 5-3,
                     Eric K. Koselke hereby notifies the Clerk of the court of changed contact
                     information. (Koselke, Eric) (Entered: 09/03/2013)
 10/07/2013       27 ORDER Granting in Part and Denying in Part United States' Motion for a Stay
                     of Civil Proceedings in which the United States, its Agencies, or Officers are a
                     Party. All such Civil actions are STAYED and immediately suspended,
                     postponed and held in abeyance, pending further Order of the Court, except
                     habeas corpus proceedings and those which are specifically exempted form
                     this Order in Exhibit A. A copy of the United States Motion is attached to this
                     Docket Entry. This Order is docketed into the following cases: 1:13-cv-01092-
                     TWP-MJD, 1:13-cv-01093-WTL-TAB, 1:13-cv-01101-SEB-DKL, 1:13-cv-
                     01110-RLY-MJD, 1:13-cv-01118-SEB-DKL, 1:13-cv-01119-SEB-MJD,
                     1:13-cv-01128-WTL-MJD, 1:13-cv-01132-SEB-DKL, 1:13-cv-01137-RLY-
                     MJD, 1:13-cv-01141-SEB-DKL, 1:13-cv-01170-JMS-TAB, 1:13-cv-01172-
                     JMS-DKL, 1:13-cv-01182-SEB-TAB, 1:13-cv-01200-SEB-DML, 1:13-cv-
                     01209-TWP-MJD, 1:13-cv-01212-WTL-DML, 1:13-cv-01257-JMS-MJD,
                     1:13-cv-01283-RLY-MJD, 1:13-cv-01361-SEB-MJD, 1:13-cv-01381-TWP-
                     DML, 1:13-cv-01383-RLY-DML, 1:13-cv-01517-TWP-DKL, 2:10-cv-00042-
                     LJM-MJD, 2:10-cv-00140-JMS-WGH, 2:10-cv-00149-WTL-WGH, 2:10-cv-
                     00172-JMS-WGH, 2:10-cv-00180-WTL-TAB, 2:10-cv-00244-WTL-WGH,
                     2:10-cv-00314-WTL-WGH, 2:11-cv-00004-LJM-WGH, 2:11-cv-00015-
                     WTL-DKL, 2:11-cv-00091-WTL-DKL, 2:11-cv-00142-JMS-DKL, 2:11-cv-
                     00149-WTL-WGH, 2:11-cv-00187-JMS-WGH, 2:11-cv-00262-JMS-DKL,
                     2:11-cv-00263-WTL-WGH, 2:11-cv-00299-WTL-WGH, 2:11-cv-00300-
                     JMS-WGH, 2:11-cv-00337-JMS-MJD, 2:12-cv-00061-WTL-WGH, 2:12-cv-
                     00080-WTL-WGH, 2:12-cv-00086-WTL-WGH, 2:12-cv-00109-WTL-DKL,
                     2:12-cv-00176-JMS-MJD, 2:12-cv-00177-JMS-WGH, 2:12-cv-00206-WTL-
                     DKL, 2:12-cv-00211-WTL-DKL, 2:12-cv-00224-JMS-MJD, 2:12-cv-00248-
                     LJM-DKL. Signed by Judge Richard L. Young on 10/7/2013. (Attachments: #
                     1 Motion to Stay)(MAC) (Entered: 10/07/2013)
 10/18/2013       28 ORDER granting United States Motion for Order Lifting Stay of Civil




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                       Litigation in which the United States is a Party. Unless otherwise ordered by a
                       judge of this Court or a bankruptcy judge in a particular case, any deadlines in
                       a case, including bankruptcy cases, impacted by this Court's Order of October
                       7, 2013, imposed by order of a judicial officer of this Court, by a bankruptcy
                       judge, by the Federal Rules of Civil Procedure, or by the Federal Rules of
                       Bankruptcy Procedure, and in effect as of October 1, 2013, are hereby
                       extended by 16 calendar days from the deadline. Any party may seek relief
                       from this general Order extending time by motion in a particular case. This
                       Order is docketed into the following cases: 1:13-cv-01092-TWP-MJD, 1:13-
                       cv-01093-WTL-TAB, 1:13-cv-01101-SEB-DKL, 1:13-cv-01110-RLY-MJD,
                       1:13-cv-01118-SEB-DKL, 1:13-cv-01119-SEB-MJD, 1:13-cv-01128-WTL-
                       MJD, 1:13-cv-01132-SEB-DKL, 1:13-cv-01137-RLY-MJD, 1:13-cv-01141-
                       SEB-DKL, 1:13-cv-01170-JMS-TAB, 1:13-cv-01172-JMS-DKL, 1:13-cv-
                       01182-SEB-TAB, 1:13-cv-01200-SEB-DML, 1:13-cv-01209-TWP-MJD,
                       1:13-cv-01212-WTL-DML, 1:13-cv-01257-JMS-MJD, 1:13-cv-01283-RLY-
                       MJD, 1:13-cv-01361-SEB-MJD, 1:13-cv-01381-TWP-DML, 1:13-cv-01383-
                       RLY-DML, 1:13-cv-01517-TWP-DKL, 2:10-cv-00042-LJM-MJD, 2:10-cv-
                       00140-JMS-WGH, 2:10-cv-00149-WTL-WGH, 2:10-cv-00172-JMS-WGH,
                       2:10-cv-00180-WTL-TAB, 2:10-cv-00244-WTL-WGH, 2:10-cv-00314-WTL-
                       WGH, 2:11-cv-00004-LJM-WGH, 2:11-cv-00015-WTL-DKL, 2:11-cv-
                       00091-WTL-DKL, 2:11-cv-00142-JMS-DKL, 2:11-cv-00149-WTL-WGH,
                       2:11-cv-00187-JMS-WGH, 2:11-cv-00262-JMS-DKL, 2:11-cv-00263-WTL-
                       WGH, 2:11-cv-00299-WTL-WGH, 2:11-cv-00300-JMS-WGH, 2:11-cv-
                       00337-JMS-MJD, 2:12-cv-00061-WTL-WGH, 2:12-cv-00080-WTL-WGH,
                       2:12-cv-00086-WTL-WGH, 2:12-cv-00109-WTL-DKL, 2:12-cv-00176-JMS-
                       MJD, 2:12-cv-00177-JMS-WGH, 2:12-cv-00206-WTL-DKL, 2:12-cv-00211-
                       WTL-DKL, 2:12-cv-00224-JMS-MJD, 2:12-cv-00248-LJM-DKL. Signed by
                       Judge Richard L. Young on 10/18/2013.(MAC) (Entered: 10/18/2013)
 11/13/2013       29 ENTRY ON PETITION FOR WRIT OF HABEAS CORPUS - This cause is
                     before the Court on Petitioner Bruce Carneil Webster's petition for writ of
                     habeas corpus pursuant to 28 U.S.C. § 2241. 1 Webster's motion is fully
                     briefed, and the Court, being duly advised, DENIES the motion for the reasons
                     set forth below. (See Entry.) Signed by Judge William T. Lawrence on
                     11/13/2013.(RSF) Modified on 11/13/2013 (RSF). (Entered: 11/13/2013)
 11/13/2013       30 CLOSED JUDGMENT - JUDGMENT - The Petitioner take nothing by his
                     petition for writ of habeas corpus pursuant to 28 U.S.C. § 2241, and the civil
                     action docketed as Cause No. 2:12-cv-86-WTL-WGH is DISMISSED WITH
                     PREJUDICE. Signed by Judge William T. Lawrence on 11/13/2013.(RSF)
                     Modified on 11/13/2013 (RSF). (Entered: 11/13/2013)
 01/09/2014       31 NOTICE OF APPEAL as to 29 Entry, filed by Petitioner BRUCE CARNEIL
                     WEBSTER. (Filing fee $505, receipt number 0756-2920875) (Schubert,
                     Kirsten) (Entered: 01/09/2014)
 01/09/2014       32 DOCKETING STATEMENT by BRUCE CARNEIL WEBSTER re 31 Notice
                     of Appeal (Schubert, Kirsten) (Entered: 01/09/2014)
 01/09/2014       33 SEVENTH CIRCUIT TRANSCRIPT INFORMATION SHEET by BRUCE




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                       CARNEIL WEBSTER re 31 Notice of Appeal (Schubert, Kirsten) (Entered:
                       01/09/2014)
 01/09/2014       34 CERTIFICATE OF SERVICE by BRUCE CARNEIL WEBSTER
                     Petitioner/Appellant's Proposed List of Additional Items to Designate for
                     Record on Appeal (Schubert, Kirsten) (Entered: 01/09/2014)
 01/09/2014       35 SEVENTH CIRCUIT APPEAL INFORMATION SHEET re 31 Notice of
                     Appeal - Instructions for Attorneys - Parties' Short Record, Instructions,
                     and Designation of Record information attached. (JLM) (Entered:
                     01/09/2014)
 01/09/2014       36 **DEATH PENALTY CASE** Transmission of Notice of Appeal and
                     Docket Sheet to US Court of Appeals re 31 Notice of Appeal. - for Court of
                     Appeals Use Only. (JLM) (Entered: 01/09/2014)
 01/09/2014       37 USCA Case Number 14-1049 for 31 Notice of Appeal filed by BRUCE
                     CARNEIL WEBSTER. (JLM) (Entered: 01/10/2014)
 01/13/2014       38 ENTRY and NOTICE - Final judgment was entered in this action for habeas
                     corpus relief on November 13, 2013. The petitioner filed a notice of appeal,
                     which has been processed. Shortly after the notice of appeal was filed the
                     petitioner filed a document entitled Certificate of Service. The court
                     understands this document 34 to indicate the petitioner's desire that the record
                     on appeal include materials which were not part of this court's record at the
                     conclusion of the case. The petitioner's filing described above is in the form of
                     a notice, not a motion. Any request to supplement the record on appeal should
                     be filed not more than 28 calendar days from the issuance of this Entry and
                     Notice. (See Entry.) (USCA # 14-1049) Signed by Judge William T.
                     Lawrence on 1/13/2014.(RSF) **Copy emailed to USCA.** Modified on
                     1/14/2014 (JLM). (Entered: 01/13/2014)
 01/23/2014       39 DESIGNATION of Record on Appeal by BRUCE CARNEIL WEBSTER re
                     31 Notice of Appeal (Schubert, Kirsten) (Entered: 01/23/2014)
 01/30/2014       40 Entry Directing Further Proceedings - The clerk shall prepare and make
                     available to counsel for the parties the record on appeal. This shall be done in
                     whatever number of electronic volumes which will eventually be used by the
                     Court of Appeals. The record thus prepared will be available when requested
                     by the Court of Appeals, together with any materials in a supplemental record
                     which may hereafter be authorized. (USCA #14-1049) Signed by Judge
                     William T. Lawrence on 1/30/2014.(RSF) (Entered: 01/30/2014)
 01/30/2014       41 ***DOCKETED PER DOC #40*** Transmitted Record on Appeal to counsel
                     re 31 Notice of Appeal by BRUCE CARNEIL WEBSTER. (Attachments: # 1
                     Pleadings, # 2 Oversized Doc 3 (Part 1 of 2), # 3 Oversized Doc 3 (Part 2 of
                     2))(JLM) (Entered: 01/30/2014)
 07/08/2014       42 Certified and Transmitted Record on Appeal to US Court of Appeals re 31
                     Notice of Appeal (USCA #14-1049). **DEATH PENALTY CASE**
                     (Attachments: # 1 Pleadings, # 2 Oversized Doc 3 (part 1 of 2), # 3 Oversized




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                       Doc 3 (part 2 of 2), # 4 Oversized Doc 41 (part 1 of 3), # 5 Oversized Doc 41
                       (part 2 of 3), # 6 Oversized Doc 41 (part 3 of 3), # 7 Notice to Transmit
                       Record)(LBT) (Entered: 07/08/2014)
 07/08/2014       43 Appeal Remark re 31 Notice of Appeal (USCA #14-1049): Original record on
                     appeal filed electronically by USCA. Contents of record : 1 vol. of pleadings;
                     5 vol. of loose pleadings. (LBT) (Entered: 07/08/2014)
 05/06/2015       44 ORDER of USCA as to 31 Notice of Appeal filed by BRUCE CARNEIL
                     WEBSTER (USCA #14-1049) - Upon consideration of the UNOPPOSED
                     MOTION TO STAY THE MANDATE, filed on May 6, 2015, by counsel for
                     Appellee Charles Daniels,IT IS ORDERED that the motion is GRANTED.
                     The mandate is STAYED untilAugust 31, 2015, pursuant to F.R.A.P. 41(d)(2)
                     (B). (LBT) (Entered: 05/06/2015)
 09/23/2015       45 MANDATE of USCA as to 31 Notice of Appeal filed by BRUCE CARNEIL
                     WEBSTER (USCA #14-1049) - The judgment of the District Court is
                     REVERSED, with costs, and the case is REMANDED for further proceedings
                     consistent with the opinion, in accordance with the decision of this court
                     entered on this date. IT IS ORDERED that the motion is GRANTED. The stay
                     of the mandate is liftedand the clerk shall issue the mandate in this appeal
                     immediately. Bill of Costs taxed in favor of: Appellant Bruce Carneil Webster
                     in the amount of: $1,392.42. (MAG) (Entered: 09/23/2015)
 09/29/2015       46 MOTION to Substitute Attorney Wes Hendrix, filed by Respondent
                     CHARLES LOCKETT. (Attachments: # 1 Text of Proposed Order proposed
                     order)(Hendrix, James) (Entered: 09/29/2015)
 10/02/2015       47 NOTICE of Appearance by Winfield D. Ong on behalf of Respondent
                     CHARLES LOCKETT. (Ong, Winfield) (Entered: 10/02/2015)
 10/05/2015       48 ENTRY DISCUSSING SELECTED MATTERS - The Clerk of the Court is
                     directed to reopen this case. The motion to substitute attorney (Dkt. No. 46) is
                     GRANTED. Wes Hendrix's appearance shall be shown on the docket, and the
                     appearance of Mr. Coraz is terminated. Signed by Judge William T. Lawrence
                     on 10/5/2015.(RSF) (Entered: 10/05/2015)
 10/05/2015       49 ENTRY Directing Further Proceedings - The United States Court of Appeals
                     for the Seventh Circuit has remanded this case for further proceedings. In
                     accordance with Local Rule 16-2, parties shall file their position statements
                     within 21 days. That period shall run from the docketing of this Entry. The
                     parties are encouraged to file a joint statement, setting forth the items on
                     which there is agreement and noting their respective positions as to items on
                     which there is no agreement. Signed by Judge William T. Lawrence on
                     10/5/2015.(RSF) (Entered: 10/06/2015)
 10/06/2015       50 NOTICE of Appearance by Monica Foster on behalf of Petitioner BRUCE
                     CARNEIL WEBSTER. (Foster, Monica) (Entered: 10/06/2015)
 10/08/2015       51 NOTICE of Appearance by Monica Foster on behalf of Petitioner BRUCE
                     CARNEIL WEBSTER. (Foster, Monica) (Entered: 10/08/2015)




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 10/22/2015       52 *** PLEASE DISRESGARD - DOCKETED IN ERROR*** CLOSED
                     JUDGMENT - FINAL JUDGMENT PURSUANT TO FED. R. CIV. PRO. 58
                     - Having this day issued its Entry Reviewing the Commissioner's Decision, the
                     Court now AFFIRMS the Commissioner's decision and enters FINAL
                     JUDGMENT against Plaintiff David B. Mallernee, and in favor of Defendant,
                     such that Mr. Mallernee shall take nothing by way of his Complaint. Copy to
                     plaintiff via US Mail. Signed by Judge Jane Magnus-Stinson on 10/22/2015.
                     (RSF) Modified on 10/22/2015 (RSF). (Entered: 10/22/2015)
 10/22/2015       53 MOTION for Extension of Time to 11/10/2015 to file the Rule 16-2 position
                     statement, filed by Petitioner BRUCE CARNEIL WEBSTER. (Attachments: #
                     1 Text of Proposed Order)(Schubert, Kirsten) (Entered: 10/22/2015)
 10/26/2015       54 ORDER - granting 53 Motion for Extension of Time. The parties shall have
                     up to and through November 10, 2015, to file the Rule 16-2 position
                     statement. Signed by Judge William T. Lawrence on 10/26/2015. (RSF)
                     (Entered: 10/26/2015)
 11/10/2015       55 Statement of Position of the Parties-Rule 16-2 by CHARLES LOCKETT.
                     (Hendrix, James) (Entered: 11/10/2015)
 11/13/2015       56 ENTRY REGARDING STATUS CONFERENCE - Status Conference set for
                     1/15/2016 at 10:00 AM before Judge William T. Lawrence, to discuss the
                     issues raised by the Rule 16-2 Statement of Position of the Parties (Dkt. No.
                     55). The parties also should be prepared to establish scheduling, including a
                     date for an in- person Rule 16 conference, and discuss any necessary further
                     briefing. Counsel shall call 317- 229-3610 at the designated time. Signed by
                     Judge William T. Lawrence on 11/13/2015.(RSF) (Entered: 11/13/2015)
 01/07/2016       57 Unopposed MOTION to Re-Set Telephonic Status Conference, filed by
                     Petitioner BRUCE CARNEIL WEBSTER. (Attachments: # 1 Text of
                     Proposed Order)(Schubert, Kirsten) (Entered: 01/07/2016)
 01/11/2016       58 ORDER - This matter having come before the Court on the Petitioner's
                     Motion to Re-Set Telephonic Status Conference, this Court, having considered
                     the above action and matters which are pending, makes the following rulings:
                     1. The Petitioner's 57 Motion to Re-Set Telephonic Status Conference is
                     GRANTED; and 2. The telephonic status conference is re-set for February 11,
                     2016 at 10:00 a.m. Signed by Judge William T. Lawrence on 1/11/2016.
                     (GSO) (Entered: 01/11/2016)
 01/20/2016       59 NOTICE of Appearance by Timothy Wayne Funnell on behalf of Respondent
                     CHARLES LOCKETT. (Funnell, Timothy) (Entered: 01/20/2016)
 01/20/2016       60 NOTICE of Appearance by Jay Steveson Weimer on behalf of Respondent
                     CHARLES LOCKETT. (Weimer, Jay) (Entered: 01/20/2016)
 02/01/2016       61 Reassignment of Case to Magistrate Judge Mark J. Dinsmore. Magistrate
                     Judge William G. Hussmann, Jr., is no longer assigned to the case. Please
                     include the new case number (2:12-cv-00086-WTL-MJD), which includes the
                     initials of the newly assigned judge, on all future filings in this matter. (JD)




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                       (Entered: 02/01/2016)
 02/12/2016       62 MINUTE ORDER for telephonic status conference held 2/11/2016 before
                     Judge William T. Lawrence:***See Entry***. Additional briefing due
                     2/26/2016. Signed by Judge William T. Lawrence. (Court Reporter Cathy
                     Jones.)(CMC) (Entered: 02/12/2016)
 02/26/2016       63 Brief in Support of Petitioner's Request to Seek Discovery from the Office of
                     the United States Attorney by BRUCE CARNEIL WEBSTER. (Schubert,
                     Kirsten) (Entered: 02/26/2016)
 02/26/2016       64 DECLARATION of Kirsten E. Schubert in Support of Petitioner's Request to
                     Seek Discovery from the Office of the United States Attorney re 63 Brief
                     (Habeas) by BRUCE CARNEIL WEBSTER. (Attachments: # 1 Exhibit 1, # 2
                     Exhibit 2)(Schubert, Kirsten) Modified on 2/29/2016 (GSO). (Entered:
                     02/26/2016)
 02/29/2016       65 CERTIFICATE OF SERVICE by BRUCE CARNEIL WEBSTER re 63 Brief
                     (Habeas) in Support of Petitioner's Request to Seek Discovery from the Office
                     of the United States Attorney (Schubert, Kirsten) (Entered: 02/29/2016)
 02/29/2016       66 CERTIFICATE OF SERVICE by BRUCE CARNEIL WEBSTER re 64
                     Declaration of Kirsten E. Schubert in Support of Petitioner's Request to Seek
                     Discovery from the Office of the United States Attorney (Schubert, Kirsten)
                     (Entered: 02/29/2016)
 03/09/2016       67 RESPONSE in Opposition to Webster's Discovery Motion, filed by
                     Respondent CHARLES LOCKETT. (Attachments: # 1 Declaration of Tim
                     Funnell, # 2 Exhibit 1 - Delcaration of Richard B. Roper, # 3 Exhibit 2 -
                     Declaration of Delonia A. Watson, # 4 Exhibit 3 - Declaration of Edmund F.
                     Grant)(Funnell, Timothy) (Entered: 03/09/2016)
 03/14/2016       68 RESPONSE in Support of Petitioner's Discovery Motion, re 63 Brief(Habeas),
                     filed by Petitioner BRUCE CARNEIL WEBSTER. (Attachments: # 1
                     Declaration of Kirsten E. Schubert, # 2 Exhibit 3, # 3 Exhibit 4)(Schubert,
                     Kirsten) (Entered: 03/14/2016)
 03/24/2016       69 ENTRY ON PETITIONER'S REQUEST TO SEEK DISCOVERY FROM
                     THE OFFICE OF THE UNITED STATES ATTORNEY - The Court
                     GRANTS IN PART Petitioner's Request to Seek Discovery from the Office of
                     the United States Attorney and allows Webster to issue requests for production
                     from the Office of the United States Attorney for the Northern District of
                     Texas. (See Entry.) Signed by Judge William T. Lawrence on 3/24/2016.
                     (GSO) (Entered: 03/24/2016)
 11/27/2017       71 Unopposed MOTION To Set Telephonic Status Conference, filed by Petitioner
                     BRUCE CARNEIL WEBSTER. (Attachments: # 1 Text of Proposed Order)
                     (Schubert, Kirsten) (Entered: 11/27/2017)
 11/28/2017       72 ORDER granting 71 Motion To Set Telephonic Status Conference -
                     Telephonic Status Conference set for 12/21/2017 at 10:00 AM before Judge
                     William T. Lawrence. The parties shall call (317) 229-3610 to initiate the




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                       conference. Signed by Judge William T. Lawrence on 11/28/2017.(JRB)
                       (Entered: 11/28/2017)
 11/30/2017       73 MOTION for Attorney(s) Kathryn Johnson to Appear pro hac vice (Filing fee
                     $100, receipt number 0756-4651309), filed by Petitioner BRUCE CARNEIL
                     WEBSTER. (Attachments: # 1 Exhibit A-Certification of Kathryn A. Johnson,
                     # 2 Text of Proposed Order)(Schubert, Kirsten) (Entered: 11/30/2017)
 12/01/2017       74 ORDER granting 73 Motion to Appear pro hac vice. Attorney Kathryn A.
                     Johnson for BRUCE CARNEIL WEBSTER, Petitioner. If not already
                     registered with the Court's Electronic Filing System, Kathryn A. Johnson is
                     ordered to register within ten (10) days of the entry of this order. Signed by
                     Magistrate Judge Mark J. Dinsmore on 12/1/2017. (DW) (Entered:
                     12/01/2017)
 12/27/2017       75 ENTRY REGARDING STATUS CONFERENCE - A telephonic status
                     conference on this matter was held on December 21, 2017. Attorneys Steven
                     Wells, Kirsten Schubert, and Monica Foster appeared for Bruce Webster.
                     Attorneys Jay Weimer and Tim Funnell appeared for Charles Lockett.
                     Webster's counsel updated the Court as to their efforts to obtain records and
                     other information from the Social Security Administration ("SSA"). They
                     informed the Court that they plan to file a motion asking the Court to issue
                     subpoenas to the SSA. Any such motion shall be filed by January 5, 2018.
                     Any response shall be filed by February 2, 2018, and any reply shall be filed
                     by February 16, 2018. The parties requested that the Court schedule a hearing
                     on the threshold issues of whether the Social Security records were
                     unavailable to Webster and whether his trial counsel exercised due diligence.
                     That hearing is scheduled to begin on June 18, 2018 at 9 a.m. The Court will
                     make a decision at a later date as to whether the hearing will be held in
                     Indianapolis or Terre Haute. Signed by Judge William T. Lawrence on
                     12/27/2017.(RSF) (Entered: 12/27/2017)
 01/05/2018       76 MOTION to Issue a Subpoena to the Social Security Administration, filed by
                     Petitioner BRUCE CARNEIL WEBSTER. (Attachments: # 1 Exhibit A -
                     Subpoena for Documents and Information, # 2 Exhibit B - Subpoena for
                     Testimony, # 3 Text of Proposed Order [Proposed] Order Granting Petitioner's
                     Motion to Issue a Subpoena)(Schubert, Kirsten) (Entered: 01/05/2018)
 01/05/2018       77 BRIEF/MEMORANDUM in Support re 76 MOTION to Issue a Subpoena to
                     the Social Security Administration , filed by Petitioner BRUCE CARNEIL
                     WEBSTER. (Schubert, Kirsten) (Entered: 01/05/2018)
 01/05/2018       78 DECLARATION of Kirsten Schubert in Support of Petitioner's Motion to
                     Issue a Subpoena to the Social Security Administration re 76 Motion (Other)
                     by BRUCE CARNEIL WEBSTER. (Attachments: # 1 Exhibit A - April 19,
                     2016 Letter from Dorsey, # 2 Exhibit B - June 22, 2016 Email from Velte, # 3
                     Exhibit C - Sept. 23, 2016 Letter from Chitwood, # 4 Exhibit D -July 17, 2017
                     Letter from Dorsey, # 5 Exhibit E - July 27, 2017 Email from Velte, # 6
                     Exhibit F - Nov. 15, 2017 Letter from Dorsey, # 7 Exhibit G - Nov. 29, 2017
                     Letter from Chitwood, # 8 Exhibit H - Sept. 21, 2015 Interview with




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                       Ferguson, # 9 Exhibit I - Sept. 24, 2015 Interview with Ward, # 10 Exhibit J -
                       Sept. 24, 2015 Email Exchange between Ward and SA Grant, # 11 Exhibit K -
                       Jan. 4, 2016 Interview with Rees, # 12 Exhibit L - Jan. 5, 2016 Letter from SA
                       Elsey to Luna, # 13 Exhibit M - May 18, 2016 Letter from Gunn, # 14 Exhibit
                       N - Jan. 27, 2005 SSA Document Retention Schedule, # 15 Exhibit O -
                       National Archives and Records Administration Record Retention Schedules
                       from 1993 to Present)(Schubert, Kirsten) (Entered: 01/05/2018)
 01/25/2018       79 NOTICE of Appearance by Tami Coette Parker on behalf of Respondent
                     CHARLES LOCKETT. (Parker, Tami) (Entered: 01/25/2018)
 02/02/2018       80 RESPONSE in Opposition re 76 MOTION to Issue a Subpoena to the Social
                     Security Administration , filed by Respondent CHARLES LOCKETT.
                     (Attachments: # 1 Appendix Declaration of Henry Velte)(Parker, Tami)
                     (Entered: 02/02/2018)
 02/02/2018       81 Amended RESPONSE re 80 Response in Opposition re 76 MOTION to Issue
                     a Subpoena to the Social Security Administration , filed by Respondent
                     CHARLES LOCKETT. (Attachments: # 1 Appendix Declaration of Henry
                     Velte)(Parker, Tami) Modified on 2/5/2018 (DW). (Entered: 02/02/2018)
 02/15/2018       82 Unopposed MOTION for Extension of Time to File Reply to February 23,
                     2018 re 76 MOTION to Issue a Subpoena to the Social Security
                     Administration , filed by Petitioner BRUCE CARNEIL WEBSTER.
                     (Attachments: # 1 Text of Proposed Order)(Johnson, Kathryn) (Entered:
                     02/15/2018)
 02/16/2018       83 ORDER granting 82 Motion for Extension of Time to File Reply to 2/23/2018
                     re 76 MOTION to Issue a Subpoena to the Social Security Administration.
                     Signed by Magistrate Judge Mark J. Dinsmore on 2/16/2018. (DW) (Entered:
                     02/16/2018)
 02/23/2018       84 REPLY in Support of Motion re 76 MOTION to Issue a Subpoena to the
                     Social Security Administration , filed by Petitioner BRUCE CARNEIL
                     WEBSTER. (Schubert, Kirsten) (Entered: 02/23/2018)
 03/02/2018       85 MOTION for Leave to File a Surreply, filed by Respondent CHARLES
                     LOCKETT. (Attachments: # 1 Appendix Proposed Surreply)(Parker, Tami)
                     (Entered: 03/02/2018)
 03/05/2018       86 Submission of Proposed Order , re 85 MOTION for Leave to File a Surreply,
                     filed by Respondent CHARLES LOCKETT. (Parker, Tami) Modified on
                     3/5/2018 (REO). (Entered: 03/05/2018)
 03/16/2018       87 RESPONSE in Opposition re 85 MOTION for Leave to File a Surreply , filed
                     by Petitioner BRUCE CARNEIL WEBSTER. (Schubert, Kirsten) (Entered:
                     03/16/2018)
 03/23/2018       88 REPLY in Support of Motion re 85 MOTION for Leave to File a Surreply ,
                     filed by Respondent CHARLES LOCKETT. (Parker, Tami) (Entered:
                     03/23/2018)




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 04/02/2018       89 ENTRY ON WEBSTER'S MOTION TO ISSUE SUBPOENA TO SOCIAL
                     SECURITY ADMINISTRATION - Accordingly, Webster's motion to issue a
                     subpoena to the Social Security Administration 76 is DENIED (SEE ENTRY).
                     Signed by Judge William T. Lawrence on 4/2/2018. (DW) (Entered:
                     04/02/2018)
 05/23/2018       90 ENTRY - The hearing scheduled to begin June 18, 2018 at 9:00 a.m. will take
                     place in Courtroom 202, U.S. Courthouse, 46 E. Ohio St., Indianapolis, IN.
                     The Court has allocated one day for the hearing. (DW) (Entered: 05/23/2018)
 06/01/2018       91 Exhibit List for June 18, 2018 Evidentiary Hearing, filed by Respondent
                     CHARLES LOCKETT. (Funnell, Timothy) (Entered: 06/01/2018)
 06/01/2018       92 Witness List for June 18, 2018 Evidentiary Hearing, filed by Respondent
                     CHARLES LOCKETT. (Funnell, Timothy) (Entered: 06/01/2018)
 06/01/2018       93 TRIAL BRIEF regarding Evidentiary Hearing of June 18, 2018 by
                     CHARLES LOCKETT. (Funnell, Timothy) (Entered: 06/01/2018)
 06/01/2018       94 APPENDIX re 93 Trial Brief by CHARLES LOCKETT. (Attachments: # 1
                     **RESTRICTED** Appendix Pages 001-151)(Funnell, Timothy) Modified
                     on 6/14/2018 (DW). (Entered: 06/01/2018)
 06/01/2018       95 MOTION in Limine for Spoliation Sanctions, filed by Petitioner BRUCE
                     CARNEIL WEBSTER. (Attachments: # 1 Text of Proposed Order)(Wells,
                     Steven) (Entered: 06/01/2018)
 06/01/2018       96 Witness List , filed by Petitioner BRUCE CARNEIL WEBSTER. (Wells,
                     Steven) (Entered: 06/01/2018)
 06/01/2018       97 TRIAL BRIEF by BRUCE CARNEIL WEBSTER. (Wells, Steven) (Entered:
                     06/01/2018)
 06/01/2018       98 Exhibit List , filed by Petitioner BRUCE CARNEIL WEBSTER. (Wells,
                     Steven) (Entered: 06/01/2018)
 06/07/2018       99 ORDER - Pursuant to the Order of this Court, Dkt. No. 75 , a Writ of Order of
                     Habeas Corpus Ad Prosequendum is necessary requiring the presence of
                     Bruce Carneil Webster, Reg. No. 26177-077, date of birth XX/XX/1973, now
                     confined at Terre Haute USP, 4700 Bureau Road South, Terre Haute, Indiana
                     47802, in the custody of the Warden, before the United States District Court,
                     before the Honorable William T. Lawrence for the Southern District of
                     Indiana, at Indianapolis, Indiana, on June 18, 2018 at 9:00 a.m. in courtroom
                     202, and thereafter until excused. The Court ORDERS that the Clerk issue the
                     proper writ or order to compel such attendance under safe conduct, as
                     provided by law. Signed by Judge William T. Lawrence on 6/7/2018.(APD)
                     (Entered: 06/07/2018)
 06/07/2018      100 WRIT of Habeas Corpus Ad Prosequendum issued by Clerk. Paper copies to
                     USM. (APD) (Entered: 06/07/2018)
 06/13/2018      101 RESPONSE in Opposition re 95 MOTION in Limine for Spoliation
                     Sanctions , filed by Respondent CHARLES LOCKETT. (Funnell, Timothy)



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                       (Entered: 06/13/2018)
 06/14/2018      102 Exhibit List , filed by Respondent CHARLES LOCKETT. (Funnell, Timothy)
                     (Entered: 06/14/2018)
 06/15/2018      103 MOTION [Plaintiff's Uncontested Motion to Maintain Hearing Exhibits
                     Under Seal], filed by Petitioner BRUCE CARNEIL WEBSTER.
                     (Attachments: # 1 Text of Proposed Order)(Johnson, Kathryn) (Entered:
                     06/15/2018)
 06/15/2018      104 BRIEF/MEMORANDUM in Support re 103 MOTION [Plaintiff's
                     Uncontested Motion to Maintain Hearing Exhibits Under Seal] , filed by
                     Petitioner BRUCE CARNEIL WEBSTER. (Johnson, Kathryn) (Entered:
                     06/15/2018)
 06/15/2018      105 Exhibit List [Petitioner's First Amended Hearing Exhibit List, filed by
                     Petitioner BRUCE CARNEIL WEBSTER. (Johnson, Kathryn) (Entered:
                     06/15/2018)
 06/15/2018      106 STIPULATION Regarding Authenticity and Admissibility of Documents, filed
                     by Petitioner BRUCE CARNEIL WEBSTER. (Johnson, Kathryn) (Entered:
                     06/15/2018)
 06/17/2018      107 REPLY in Support of Motion re 95 MOTION in Limine for Spoliation
                     Sanctions , filed by Petitioner BRUCE CARNEIL WEBSTER. (Johnson,
                     Kathryn) (Entered: 06/17/2018)
 06/18/2018      108 ORDER - The Court, having considered Petitioner Bruce Webster's 103
                     Unopposed Motion to Maintain Hearing Exhibits Under Seal and the materials
                     filed in support thereof, finds good cause and hereby GRANTS Petitioner's
                     motion to maintain the hearing exhibits specified in this Order under seal. (See
                     Order). Signed by Judge William T. Lawrence on 6/18/2018. (APD) (Entered:
                     06/18/2018)
 06/21/2018      109 Minute Entry for proceedings held before Judge William T. Lawrence:
                     Evidentiary Hearing held on 6/18/2018. See Entry. Parties' proposed findings
                     of fact and conclusions of law shall be filed by July 9, 2018. (Court Reporter
                     Maggie Techert.) (CMC) (Entered: 06/21/2018)
 06/27/2018      110 WRIT of Habeas Corpus Ad Prosequendum Returned 6/18/2018 as to
                     Plaintiff. (DWH) (Entered: 06/28/2018)
 07/05/2018      111 Unopposed MOTION for Extension of Time to July 16, 2018 to File Proposed
                     Findings of Fact and Conclusions of Law, filed by Petitioner BRUCE
                     CARNEIL WEBSTER. (Attachments: # 1 Text of Proposed Order)(Johnson,
                     Kathryn) (Entered: 07/05/2018)
 07/09/2018      112 ORDER granting 111 Motion for Extension of Time. Petitioner and
                     Respondent shall have up to and through July 16, 2018 to file Proposed
                     Findings of Fact and Conclusions of Law. Signed by Judge William T.
                     Lawrence on 7/9/2018. (DWH) (Entered: 07/09/2018)
 07/16/2018      113 Proposed Findings of Fact by CHARLES LOCKETT. (Funnell, Timothy)



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                       (Entered: 07/16/2018)
 07/16/2018      114 Proposed Findings of Fact (Spoliation) by CHARLES LOCKETT. (Funnell,
                     Timothy) Modified on 7/17/2018 (DWH). (Entered: 07/16/2018)
 07/16/2018      115 Proposed Findings of Fact by BRUCE CARNEIL WEBSTER. (Schubert,
                     Kirsten) (Entered: 07/16/2018)
 08/27/2018      116 MARGINAL ENTRY- Denying as moot 85 Motion for Leave to File a
                     Surreply in light of ruling found at Dkt. No. 89 . Signed by Judge William T.
                     Lawrence on 8/27/2018. (DMW) (Entered: 08/27/2018)
 08/31/2018      117 ENTRY FOLLOWING HEARING OF JUNE 18, 2018 - The Court finds that
                     Webster has met his burden and shown by a preponderance of the evidence
                     that the Social Security records were unavailable to him at the time of trial
                     despite trial counsel's due diligence. As such, they constitute newly discovered
                     evidence. Accordingly, Webster has satisfied the savings clause, and the Court
                     next must turn to the merits of the petition and determine whether Webster is
                     so intellectually disabled that he is categorically ineligible for the death
                     penalty. A telephonic status conference will be set by separate order (SEE
                     ENTRY FOR ADDITIONAL INFORMATION). Signed by Judge William T.
                     Lawrence on 8/31/2018. (DWH) (Entered: 08/31/2018)
 09/06/2018      118 ENTRY FOR SEPTEMBER 6, 2018: This matter is hereby set for a
                     telephonic status conference on September 19, 2018 at 9:00 a.m. The purpose
                     of the status conference is to discuss the hearing that the Court will hold to
                     determine whether Webster is so intellectually disabled that he is categorically
                     ineligible for the death penalty. The parties should be prepared to discuss how
                     long they will need to prepare for the hearing; approximately how long they
                     anticipate that the hearing will be; and if they plan to file any motions, what
                     the briefing schedule for those motions should be. The parties shall call (877)
                     848-7030, Access Code 8876823, at the time of the hearing.(DWH) (Entered:
                     09/06/2018)
 09/28/2018      119 SCHEDULING ORDER: This cause is set for a hearing on April 1, 2019, at
                     9:00 a.m. to determine whether Bruce Webster is intellectually disabled and
                     thus categorically ineligible for the death penalty. The Court has set aside a
                     week on its calendar for the hearing. The Court will determine at a later date
                     whether the hearing will be held in Indianapolis or Terre Haute. Discovery due
                     by 2/18/2019. (See Order for additional deadlines.) Signed by Judge William
                     T. Lawrence on 9/28/2018. (DMW) (Entered: 10/01/2018)
 10/01/2018      120 NOTICE of Appearance by Joseph Andrew Magliolo on behalf of Respondent
                     CHARLES LOCKETT. (Magliolo, Joseph) (Entered: 10/01/2018)
 11/09/2018      121 MOTION to Compel Examination of Petitioner Bruce Carneil Webster, filed
                     by Respondent CHARLES LOCKETT. (Attachments: # 1 Text of Proposed
                     Order)(Weimer, Jay) (Entered: 11/09/2018)
 11/09/2018      122 NOTICE of FILING of OFFICIAL TRANSCRIPT of Telephonic Status
                     Conference held before Judge William T. Lawrence on September 19, 2018




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                       (Jones, Cathy) (Entered: 11/09/2018)
 11/09/2018      123 TRANSCRIPT of Telephonic Status Conference held on September 19, 2018,
                     before Judge William T. Lawrence. (13 pages.) Court Reporter/Transcriber:
                     Cathy Jones (Telephone: (317) 922-9958). Please review Local Rule 80-2 for
                     more information on redaction procedures. Redaction Statement due
                     11/30/2018. Release of Transcript Restriction set for 2/7/2019. (Jones, Cathy)
                     Released on 2/7/2019 (SWM). (Entered: 11/09/2018)
 11/16/2018      124 RESPONSE in Opposition re 121 MOTION to Compel Examination of
                     Petitioner Bruce Carneil Webster , filed by Petitioner BRUCE CARNEIL
                     WEBSTER. (Attachments: # 1 Affidavit Declaration, # 2 Affidavit
                     Declaration, # 3 Exhibit A-Telephonic Status Conference Transcript, # 4
                     Exhibit B-Government's Opposition to Movant's Request, # 5 Exhibit C-Brief
                     for Respondent-Appellee, # 6 Exhibit D-Dr. George Parker Letter re Webster
                     exam, # 7 Exhibit E-Excerpt of Vol. 26 of trial transcript, # 8 Text of
                     Proposed Order)(Wells, Steven) (Entered: 11/16/2018)
 11/20/2018      125 REPLY in Support of Motion re 121 MOTION to Compel Examination of
                     Petitioner Bruce Carneil Webster , filed by Respondent CHARLES
                     LOCKETT. (Weimer, Jay) (Entered: 11/20/2018)
 11/21/2018      126 ENTRY ON RESPONDENT'S MOTION TO COMPEL EXAMINATION OF
                     PETITIONER - This cause is before the Court on the Respondent's Motion to
                     Compel Examination of Petitioner Bruce Carneil Webster (Dkt. No. 121 ).
                     The Court GRANTS the Government's motion to the following extent:
                     Webster shall submit to testing by Dr. Robert Denney. The testing will take
                     place on November 28 and 29 at USP Terre Haute. The Bureau of Prisons is
                     ordered to make such arrangements as necessary to allow the testing to take
                     place on these dates. The parties shall confer and agree on a testing and
                     observational protocol. If the parties are unable to reach an agreement, each
                     shall file its proposed testing and observational protocol with the Court by
                     5:00 p.m. on November 26, 2018. (See Entry.) Signed by Judge William T.
                     Lawrence on 11/21/2018. (DMW) (Entered: 11/21/2018)
 12/03/2018      127 Preliminary Witness List and Exhibit List, filed by Petitioner BRUCE
                     CARNEIL WEBSTER. (Johnson, Kathryn) Modified on 12/4/2018 to edit
                     docket text (DMW). (Entered: 12/03/2018)
 12/10/2018      128 Witness List , filed by Respondent CHARLES LOCKETT. (Weimer, Jay)
                     (Entered: 12/10/2018)
 12/10/2018      129 Exhibit List , filed by Respondent CHARLES LOCKETT. (Weimer, Jay)
                     (Entered: 12/10/2018)
 12/11/2018      132 ENTRY FOR DECEMBER 11, 2018 - Telephonic Status Conference set for
                     2/14/2019 at 4:00 PM (Eastern Time) before Judge William T. Lawrence.
                     Signed by Judge William T. Lawrence on 12/11/2018. (DMW) (Entered:
                     12/11/2018)
 12/11/2018      133 MOTION to Amend/Correct the Scheduling Order, filed by Petitioner




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                       BRUCE CARNEIL WEBSTER. (Attachments: # 1 Affidavit Katheryn A.
                       Johnson, # 2 Text of Proposed Order)(Johnson, Kathryn) (Entered:
                       12/11/2018)
 12/11/2018      134 RESPONSE in Opposition re 133 MOTION to Amend/Correct the Scheduling
                     Order , filed by Respondent CHARLES LOCKETT. (Weimer, Jay) (Entered:
                     12/11/2018)
 12/12/2018      135 ENTRY FOR DECEMBER 12, 2018 HONORABLE WILLIAM T.
                     LAWRENCE - The above cause is set for a telephonic status conference on
                     Wednesday, December 12, 2018, at 10:00 a.m. E.S.T. Counsel will be
                     provided call-in information by separate order. Signed by Judge William T.
                     Lawrence on 12/12/2018.(APD) (Entered: 12/12/2018)
 12/12/2018      137 ENTRY REGARDING STATUS CONFERENCE - A telephonic status
                     conference on this matter was held on December 12, 2018. By December 14,
                     2018, the parties shall file a proposed Revised Scheduling Order that is
                     consistent with the discussion had during the status conference. (See Entry.)
                     Signed by Judge William T. Lawrence on 12/12/2018. (DMW) (Entered:
                     12/12/2018)
 12/14/2018      138 Joint MOTION to Amend Scheduling Order, filed by Petitioner BRUCE
                     CARNEIL WEBSTER. (Attachments: # 1 Text of Proposed Order [Proposed]
                     Amended Scheduling Order)(Johnson, Kathryn) (Entered: 12/14/2018)
 12/19/2018      139 AMENDED SCHEDULING ORDER - This cause is set for a hearing on
                     April 1, 2019, at 9:00 a.m. to determine whether Bruce Webster is
                     intellectually disabled and thus categorically ineligible for the death penalty.
                     The Court has set aside a week on its calendar for the hearing. The Court will
                     determine at a later date whether the hearing will be held in Indianapolis or
                     Terre Haute. Discovery due by 3/8/2019. (See Order.) Signed by Judge
                     William T. Lawrence on 12/19/2018. (DMW) (Entered: 12/19/2018)
 02/08/2019      142 ENTRY FOR FEBRUARY 8, 2019 HONORABLE WILLIAM T.
                     LAWRENCE - The above cause is set for a telephonic status conference on
                     Thursday, February 14, 2019 at 4:00 pm. E.S.T. Counsel are to call (877)
                     848-7030 and use access code 8876823.(APD) (Entered: 02/08/2019)
 02/13/2019      143 NOTICE of Change of Attorney Information. Consistent with Local Rule 5-3,
                     James Wesley Hendrix hereby notifies the Clerk of the court of changed
                     contact information. (Hendrix, James) (Entered: 02/13/2019)
 02/15/2019      144 ENTRY REGARDING STATUS CONFERENCE - A telephonic status
                     conference on this matter was held on February 14, 2019. Attorney Kirsten
                     Schubert appeared for Bruce Webster. Attorneys Jay Weimer and Tami Parker
                     appeared for the Respondent. The parties discussed the location and
                     anticipated length of the hearing that will begin on April 1, 2019. Based on the
                     discussions, the Court has set aside five days for the hearing. The parties shall
                     exchange exhibits and file stipulations with the Court by March 8, 2019.
                     (Court Reporter Cathy Jones.) (APD) (Entered: 02/15/2019)




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 03/01/2019      145 Witness List , filed by Respondent CHARLES LOCKETT. (Weimer, Jay)
                     (Entered: 03/01/2019)
 03/01/2019      146 Exhibit List , filed by Respondent CHARLES LOCKETT. (Weimer, Jay)
                     (Entered: 03/01/2019)
 03/01/2019      147 Exhibit List , filed by Petitioner BRUCE CARNEIL WEBSTER. (Johnson,
                     Kathryn) (Entered: 03/01/2019)
 03/01/2019      148 Witness List , filed by Petitioner BRUCE CARNEIL WEBSTER. (Johnson,
                     Kathryn) (Entered: 03/01/2019)
 03/08/2019      149 ORDER - Pursuant to the Order of this Court, Dkt. No. 144 , a Writ of Order
                     of Habeas Corpus Ad Testificandum is necessary requiring the presence of
                     Bruce Carneil Webster, before the Honorable William T. Lawrence for the
                     Southern District of Indiana, at Indianapolis, Indiana, on April 1, 2019 at 9:00
                     a.m. in courtroom 202, and thereafter until excused. The Court ORDERS that
                     the Clerk issue the proper writ or order to compel such attendance under safe
                     conduct, as provided by law. (See Order.) Copy via U.S. Mail pursuant to
                     distribution list. Signed by Judge William T. Lawrence on 3/8/2019. (DMW)
                     (Entered: 03/08/2019)
 03/08/2019      150 WRIT OF HABEAS CORPUS AD TESTIFICANDUM issued. You are
                     hereby commanded to have the presence of Bruce Carneil Webster, now
                     confined in the Terre Haute USP, in the custody of the Warden of said
                     institution, before the United States District Court for the Southern District of
                     Indiana, at Indianapolis, Indiana, on 4/1/2019 at 9:00 a.m. in courtroom 202.
                     Paper copies to USM. (DMW) (Entered: 03/08/2019)
 03/08/2019      151 OBJECTION to Petitioner's Exhibits by CHARLES LOCKETT. Related
                     document: 147 Exhibit List filed by BRUCE CARNEIL WEBSTER.(Weimer,
                     Jay) (Entered: 03/08/2019)
 03/08/2019      152 Exhibit List (First Amended), filed by Respondent CHARLES LOCKETT.
                     (Weimer, Jay) (Entered: 03/08/2019)
 03/08/2019      153 OBJECTION to Respondent's First Amended Final Exhibit List by BRUCE
                     CARNEIL WEBSTER. Related document: 152 Exhibit List filed by
                     CHARLES LOCKETT.(Johnson, Kathryn) (Entered: 03/08/2019)
 03/08/2019      154 Exhibit List First Amended Final, filed by Petitioner BRUCE CARNEIL
                     WEBSTER. (Johnson, Kathryn) (Entered: 03/08/2019)
 03/08/2019      155 STIPULATION Regarding Authenticity and Admissibility of Documents, filed
                     by Petitioner BRUCE CARNEIL WEBSTER. (Johnson, Kathryn) (Entered:
                     03/08/2019)
 03/15/2019      156 RESPONSE to Webster's Objections to Respondent's Exhibits, re 153
                     Objection, filed by Respondent CHARLES LOCKETT. (Weimer, Jay)
                     (Entered: 03/15/2019)
 03/15/2019      157 RESPONSE to Respondent's Objections to Petitioner's Exhibits, re 151
                     Objection, filed by Petitioner BRUCE CARNEIL WEBSTER. (Johnson,



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                       Kathryn) (Entered: 03/15/2019)
 03/22/2019      158 MOTION to Exclude Witnesses from the Courtroom Pursuant to Federal Rule
                     of Evidence 615, filed by Petitioner BRUCE CARNEIL WEBSTER.
                     (Attachments: # 1 Text of Proposed Order)(Foster, Monica) (Entered:
                     03/22/2019)
 03/25/2019      159 NOTICE of Appearance by Michael Stephen Warbel on behalf of Respondent
                     CHARLES LOCKETT. (Warbel, Michael) (Entered: 03/25/2019)
 03/25/2019      160 ***Correct version filed at 166 *** MOTION to Admit Deposition
                     Testimony of Dr. Blessinger, filed by Respondent CHARLES LOCKETT.
                     (Weimer, Jay) Modified on 3/27/2019 to indicate filing was corrected and
                     resubmitted (APD). (Entered: 03/25/2019)
 03/25/2019      161 Exhibit List (Second Amended), filed by Respondent CHARLES LOCKETT.
                     (Weimer, Jay) (Entered: 03/25/2019)
 03/26/2019      162 Amended NOTICE of Appearance by Michael Stephen Warbel on behalf of
                     Respondent CHARLES LOCKETT. (Warbel, Michael) Modified on
                     3/27/2019 to edit document title(DMW). (Entered: 03/26/2019)
 03/26/2019      163 RESPONSE in Opposition re 158 MOTION to Exclude Witnesses from the
                     Courtroom Pursuant to Federal Rule of Evidence 615 , filed by Respondent
                     CHARLES LOCKETT. (Weimer, Jay) (Entered: 03/26/2019)
 03/26/2019      164 Submission of Deposition Transcripts and Notice of Manual Filing of Video
                     Depositions, filed by Petitioner BRUCE CARNEIL WEBSTER.
                     (Attachments: # 1 Exhibit Exhibit 1-Designated Excerpts of the Deposition of
                     Dr. Charles Spellman, # 2 Exhibit Exhibit 2-Designated Excerpts of the
                     Deposition of Mr. Larry Moore)(Johnson, Kathryn) (Entered: 03/26/2019)
 03/26/2019      165 Brief (Petitioner's Pre-Hearing) by BRUCE CARNEIL WEBSTER. (Foster,
                     Monica) (Entered: 03/26/2019)
 03/26/2019      166 MOTION to Admit Deposition Testimony of Dr. Jacqueline Blessinger in Lieu
                     of Live Testimony, filed by Respondent CHARLES LOCKETT. (Attachments:
                     # 1 Exhibit Deposition - Blessinger, # 2 Exhibit Deposition - Signature page, #
                     3 Exhibit Deposition Ex. 9, # 4 Exhibit Deposition Ex. 10, # 5 Exhibit
                     Deposition Ex. 11, # 6 Exhibit Deposition Ex. 12)(Weimer, Jay) (Entered:
                     03/26/2019)
 03/27/2019      167 Exhibit List (Third Amended), filed by Respondent CHARLES LOCKETT.
                     (Weimer, Jay) (Entered: 03/27/2019)
 03/27/2019      168 OBJECTION to Witness Testimony Submitted through Depositions by
                     CHARLES LOCKETT. Related document: 164 Submission filed by BRUCE
                     CARNEIL WEBSTER.(Magliolo, Joseph) (Entered: 03/27/2019)
 03/28/2019      169 REPLY in Support of Motion re 158 MOTION to Exclude Witnesses from the
                     Courtroom Pursuant to Federal Rule of Evidence 615 , filed by Petitioner
                     BRUCE CARNEIL WEBSTER. (Foster, Monica) (Entered: 03/28/2019)




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 03/28/2019      170 RESPONSE in Opposition re 166 MOTION to Admit Deposition Testimony of
                     Dr. Jacqueline Blessinger in Lieu of Live Testimony , filed by Petitioner
                     BRUCE CARNEIL WEBSTER. (Attachments: # 1 Affidavit Declaration of
                     Kathryn A. Johnson, # 2 Exhibit 1 to Declaration, # 3 Exhibit 2 to Declaration,
                     # 4 Exhibit 3 to Declaration, # 5 Exhibit 4 to Declaration, # 6 Exhibit 5 to
                     Declaration, # 7 Exhibit 6 to Declaration)(Johnson, Kathryn) (Entered:
                     03/28/2019)
 03/28/2019      171 MOTION to Exclude Deposition Testimony of Dr. Charles Spellman Pursuant
                     to Federal Rule of Civil Procedure 37, filed by Petitioner BRUCE CARNEIL
                     WEBSTER. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Text of Proposed
                     Order)(Johnson, Kathryn) (Entered: 03/28/2019)
 03/29/2019      172 ENTRY ON WEBSTER'S MOTION TO EXCLUDE WITNESSES FROM
                     THE COURTROOM PURSUANT TO FEDERAL RULE OF EVIDENCE
                     615 - Webster's Motion to Exclude Witnesses from the Courtroom Pursuant to
                     Federal Rule of Evidence 615 (Dkt. No. 158 ) is DENIED. Dr. Robert Denney
                     may be present in the Courtroom during the hearing. (See Entry.) Signed by
                     Judge William T. Lawrence on 3/29/2019. (DMW) (Entered: 03/29/2019)
 03/29/2019      173 ***PLEASE DISREGARD. WITHDRAWN AT 181 .***NOTICE of manual
                     filing, filed by Petitioner BRUCE CARNEIL WEBSTER (Foster, Monica)
                     Modified on 4/1/2019 (DMW). (Entered: 03/29/2019)
 03/29/2019      174 MOTION to Withdraw Document 173, filed by Petitioner BRUCE CARNEIL
                     WEBSTER. (Attachments: # 1 Text of Proposed Order)(Foster, Monica)
                     (Entered: 03/29/2019)
 03/29/2019      175 ***PLEASE DISREGARD FILED IN ERROR***NOTICE of manual filing,
                     filed by Petitioner BRUCE CARNEIL WEBSTER (Foster, Monica) Modified
                     on 3/29/2019 (NAD). (Entered: 03/29/2019)
 03/29/2019      176 NOTICE of Manual Filing, filed by Petitioner BRUCE CARNEIL WEBSTER
                     (Foster, Monica) (Entered: 03/29/2019)
 03/29/2019      177 Receipt of 1 USB Drive containing depositions. (LBT) (Entered: 03/29/2019)
 03/29/2019      178 RESPONSE in Opposition re 171 MOTION to Exclude Deposition Testimony
                     of Dr. Charles Spellman Pursuant to Federal Rule of Civil Procedure 37 ,
                     filed by Respondent CHARLES LOCKETT. (Attachments: # 1 Exhibit)
                     (Magliolo, Joseph) (Entered: 03/29/2019)
 03/29/2019      179 REPLY in Support of Motion re 166 MOTION to Admit Deposition Testimony
                     of Dr. Jacqueline Blessinger in Lieu of Live Testimony , filed by Respondent
                     CHARLES LOCKETT. (Attachments: # 1 Exhibit A - Email and FBI 302, # 2
                     Exhibit B - Email and CV)(Weimer, Jay) (Entered: 03/29/2019)
 03/30/2019      180 Exhibit List , Second Amended Final, filed by Petitioner BRUCE CARNEIL
                     WEBSTER. (Johnson, Kathryn) (Entered: 03/30/2019)
 04/01/2019      181 ORDER ON MOTION TO WITHDRAW DOCUMENT 173 - Granting 174
                     Motion to Withdraw Document 173. Petitioner's Notice of Manual Filing shall




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                       be withdrawn. Signed by Judge William T. Lawrence on 4/1/2019. (DMW)
                       (Entered: 04/01/2019)
 04/02/2019      182 ENTRY FOR APRIL 1, 2019 - This cause was before the Court for a hearing
                     to determine whether Petitioner Bruce Carneil Webster is intellectually
                     disabled and thus categorically ineligible for the death penalty. The Petitioner
                     appeared in person and by counsel Steven J. Wells, Kathryn A. Johnson,
                     Kirsten E. Schubert, and Monica Foster. The Respondent appeared by counsel
                     Jay S. Weimer, Michael S. Warbel, and Tami C. Parker. Petitioner began
                     presenting his case. The following witnesses were sworn and examined: Dr.
                     Marc J. Tass and Dr. Daniel J. Reschly. Petitioner's exhibit 40 was admitted
                     into evidence without objection. (See Entry) (Court Reporter Cathy Jones.)
                     (APD) (Entered: 04/02/2019)
 04/03/2019      183 ENTRY FOR APRIL 2, 2019, DAY 2 - This cause was before the Court for a
                     hearing to determine whether Petitioner Bruce Carneil Webster is
                     intellectually disabled and thus categorically ineligible for the death penalty.
                     The Petitioner appeared in person and by counsel Steven J. Wells, Kathryn A.
                     Johnson, Kirsten E. Schubert, and Monica Foster. The Respondent appeared
                     by counsel Jay S. Weimer, Michael S. Warbel, and Tami C. Parker. The
                     parties continued their examination of Dr. Daniel J. Reschly. Petitioner and
                     Respondent admitted exhibits by stipulation. (SEE ENTRY). (Court Reporter
                     Cathy Jones.) (APD) (Entered: 04/03/2019)
 04/04/2019      184 ENTRY FOR APRIL 3, 2019, DAY 3 - This cause was before the Court for a
                     hearing to determine whether Petitioner Bruce Carneil Webster is
                     intellectually disabled and thus categorically ineligible for the death penalty.
                     The Petitioner appeared in person and by counsel Steven J. Wells, Kathryn A.
                     Johnson, Kirsten E. Schubert, and Monica Foster. The Respondent appeared
                     by counsel Jay S. Weimer, Michael S. Warbel, and Tami C. Parker. Dr. John
                     M. Fabian was sworn and examined. The examination of Dr. Fabian
                     concluded. The deposition of Larry Moore was offered and admitted without
                     objection. Dr. Robert L. Denney was sworn and examined. (See Entry). (Court
                     Reporter Cathy Jones.) (APD) (Entered: 04/04/2019)
 04/04/2019      185 ENTRY FOR APRIL 4, 2019, DAY 4 - This cause was before the Court for a
                     hearing to determine whether Petitioner Bruce Carneil Webster is
                     intellectually disabled and thus categorically ineligible for the death penalty.
                     The Petitioner appeared in person and by counsel Steven J. Wells, Kathryn A.
                     Johnson, Kristen E. Schubert, and Monica Foster. The Respondent appeared
                     by counsel Jay S. Weimer, Michael S. Warbel, and Tami C. Parker. The
                     parties continued their examination of Dr. Robert L. Denney, who remained
                     under oath. The examination of Dr. Robert L. Denney concluded. Dr. John M.
                     Fabian, who remained under oath, was examined as a rebuttal witness. The
                     examination of Dr. John M. Fabian concluded. The Court ordered the parties
                     to include briefing on objections to exhibits in their post-hearing filings. (See
                     Entry) (Court Reporter Cathy Jones.) (APD) (Entered: 04/04/2019)
 04/05/2019      186 ENTRY FOR APRIL 5, 2019, DAY 5 - This cause was before the Court for a
                     hearing to determine whether Petitioner Bruce Carneil Webster is




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                       intellectually disabled and thus categorically ineligible for the death penalty.
                       The Petitioner appeared in person and by counsel Steven J. Wells, Kathryn A.
                       Johnson, Kirsten E. Schubert, and Monica Foster. The Respondent appeared
                       by counsel Jay S. Weimer and Michael S. Warbel. The following witnesses
                       were sworn and examined: Dr. Erin Conner; John S. Edwards, III; and Phil
                       Woolston. Respondent's exhibits 169 and 171 were conditionally admitted
                       over Petitioner's objection. The Court ordered briefing on the same in the
                       parties' post-hearing briefs. The Court ordered the parties to submit Proposed
                       Findings of Fact and Conclusions of Law no later than 30 days from the
                       receipt of the transcript of this hearing. The Court advised the parties that no
                       extensions of time should be anticipated. Court was adjourned. (SEE ENTRY)
                       (Court Reporter Cathy Jones.) (APD) (Entered: 04/05/2019)
 04/10/2019      187 NOTICE of Appearance by Florence Italia Patti on behalf of Petitioner
                     BRUCE CARNEIL WEBSTER. (Patti, Florence) (Entered: 04/10/2019)
 04/25/2019      188 NOTICE of FILING of OFFICIAL TRANSCRIPT of Hearing To Determine
                     Intellectual Disability held before Judge William T. Lawrence on April 1
                     through 5, 2019 (Jones, Cathy) (Entered: 04/25/2019)
 04/25/2019      189 TRANSCRIPT of Hearing To Determine Intellectual Disability held on April
                     1, 2019, before Judge William T. Lawrence. (229 pages.) Court
                     Reporter/Transcriber: Cathy Jones (Telephone: (317) 922-9958). Please
                     review Local Rule 80-2 for more information on redaction procedures.
                     Redaction Statement due 5/16/2019. Release of Transcript Restriction set for
                     7/24/2019. (Jones, Cathy) Released on 7/24/2019 (SWM). (Entered:
                     04/25/2019)
 04/25/2019      190 *** SEE DKT. NUMBER 200 FOR REDACTED TRANSCRIPT ***
                     TRANSCRIPT of Hearing To Determine Intellectual Disability held on April
                     2, 2019, before Judge William T. Lawrence. (197 pages.) Court
                     Reporter/Transcriber: Cathy Jones (Telephone: (317) 922-9958). Please
                     review Local Rule 80-2 for more information on redaction procedures.
                     Redaction Statement due 5/16/2019. Release of Transcript Restriction set for
                     7/24/2019. (Jones, Cathy) (SWM). Modified on 7/24/2019 (SWM). Modified
                     on 7/25/2019 (SWM). (Entered: 04/25/2019)
 04/25/2019      191 TRANSCRIPT of Hearing To Determine Intellectual Disability held on April
                     3, 2019, before Judge William T. Lawrence. (227 pages.) Court
                     Reporter/Transcriber: Cathy Jones (Telephone: (317) 922-9958). Please
                     review Local Rule 80-2 for more information on redaction procedures.
                     Redaction Statement due 5/16/2019. Release of Transcript Restriction set for
                     7/24/2019. (Jones, Cathy) Released on 7/24/2019 (SWM). (Entered:
                     04/25/2019)
 04/25/2019      192 TRANSCRIPT of Hearing To Determine Intellectual Disability held on April
                     4, 2019, before Judge William T. Lawrence. (190 pages.) Court
                     Reporter/Transcriber: Cathy Jones (Telephone: (317) 922-9958). Please
                     review Local Rule 80-2 for more information on redaction procedures.
                     Redaction Statement due 5/16/2019. Release of Transcript Restriction set for




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                       7/24/2019. (Jones, Cathy) Released on 7/24/2019 (SWM). (Entered:
                       04/25/2019)
 04/25/2019      193 TRANSCRIPT of Hearing To Determine Intellectual Disability held on April
                     5, 2019, before Judge William T. Lawrence. (145 pages.) Court
                     Reporter/Transcriber: Cathy Jones (Telephone: (317) 922-9958). Please
                     review Local Rule 80-2 for more information on redaction procedures.
                     Redaction Statement due 5/16/2019. Release of Transcript Restriction set for
                     7/24/2019. (Jones, Cathy) Released on 7/24/2019 (SWM). (Entered:
                     04/25/2019)
 05/22/2019      194 WRIT of Habeas Corpus Ad Testificandum Returned re Bruce Carneil
                     Webster. (DMW) (Entered: 05/22/2019)
 05/24/2019      195 Proposed Findings of Fact by CHARLES LOCKETT. (Weimer, Jay) (Entered:
                     05/24/2019)
 05/24/2019      196 Findings of Fact & Conclusions of Law (proposed) by BRUCE CARNEIL
                     WEBSTER. (Wells, Steven) (Entered: 05/24/2019)
 05/31/2019      197 NOTICE of Errata to Petitioner's [Proposed] Findings of Fact and
                     Conclusions of Law, filed by Petitioner BRUCE CARNEIL WEBSTER, re
                     196 Findings of Fact & Conclusions of Law (proposed). (Johnson, Kathryn)
                     (Entered: 05/31/2019)
 06/18/2019      198 ENTRY ON INTELLECTUAL DISABILITY - This cause is before the Court
                     to determine whether Bruce Webster is entitled to relief under 28 U.S.C. §
                     2241. The Court finds that Webster has met his burden and shown by a
                     preponderance of the evidence that he is intellectually disabled, as he meets all
                     three prongs of intellectual disability: 1)Webster has intellectual-functioning
                     deficits; 2) Webster has adaptive deficits; and 3) the onset of these deficits was
                     while Webster was a minor. In making this ruling, the Court has carefully
                     considered the totality of the evidence and weighed the testimony in
                     accordance with its credibility assessment of each witness. Accordingly,
                     Webster's petition for a writ of habeas corpus is GRANTED. Webster's death
                     sentence is vacated under 28 U.S.C. § 2241. The Attorney General has 120
                     days from the Entry of Final Judgment to take appropriate action in light of
                     the writ. Further sentencing proceedings shall occur in the Northern District of
                     Texas. (See Entry.) Signed by Judge William T. Lawrence on 6/18/2019.
                     (DMW) (Entered: 06/18/2019)
 06/18/2019      199 JUDGMENT - The Court having this day directed the entry of final judgment,
                     the Court now enters FINAL JUDGMENT in favor of the petitioner, Bruce
                     Webster, and against the respondent. Webster's petition for a writ of habeas
                     corpus is granted. Webster's death sentence is vacated under 28 U.S.C. § 2241.
                     The Attorney General has 120 days from the Entry of Final Judgment to take
                     appropriate action in light of the writ. Further sentencing proceedings shall
                     occur in the Northern District of Texas. Signed by Judge William T. Lawrence
                     on 6/18/2019. (DMW) (Entered: 06/18/2019)
 07/24/2019      200 REDACTED Version of previously filed 190 TRANSCRIPT of Hearing to




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                       Determine Intellectual Disability held on April 2, 2019 before Judge William
                       T. Lawrence. (197 pages.) Court Reporter/Transcriber: Cathy Jones
                       (Telephone: (317) 922-9958). (Jones, Cathy) Released on 7/25/2019 (SWM).
                       (Entered: 07/24/2019)
 08/13/2019      201 MOTION for Extension of Time to to File Notice of Appeal , filed by
                     Respondent CHARLES LOCKETT. (Weimer, Jay) (Entered: 08/13/2019)
 08/13/2019      202 Unopposed MOTION for Extension of Time to to File Notice of Appeal , filed
                     by Respondent CHARLES LOCKETT. (Weimer, Jay) (Entered: 08/13/2019)
 08/14/2019      203 ORDER REASSIGNING CASE - Pursuant to 28 U.S.C. Section 137 and
                     Local Rule 40-1(f), this matter has been reassigned from Judge William T.
                     Lawrence to newly assigned Judge James Patrick Hanlon. Please include the
                     new case number, 2:12-cv-00086-JPH-MJD on all future filings in this
                     matter.Signed by Judge Jane Magnus-Stinson on 8/14/2019. (NLR) (Entered:
                     08/14/2019)
 08/16/2019      204 ORDER GRANTING RESPONDENT'S MOTIONS TO EXTEND THE
                     NOTICE-OF-APPEAL DEADLINE - Respondent's duplicative motions to
                     extend the notice-of-appeal deadline, dkt. 201 , dkt. 202 , are GRANTED. The
                     notice-of-appeal deadline is extended through September 3, 2019. Signed by
                     Judge James Patrick Hanlon on 8/16/2019. (DMW) (Entered: 08/16/2019)
 08/30/2019      205 NOTICE OF APPEAL as to 199 Closed Judgment, filed by Respondent
                     CHARLES LOCKETT. (No fee paid with this filing) (Weimer, Jay) (Entered:
                     08/30/2019)
 08/30/2019      206 DOCKETING STATEMENT by CHARLES LOCKETT re 205 Notice of
                     Appeal (Weimer, Jay) (Entered: 08/30/2019)

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